                             UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRT OF IOWA


THE ARC OF IOWA; CHARMAINE
ALEXANDER, individually and on behalf of
C.B., a minor; JONATHAN CRAIG,
individually and on behalf of E.C. and J.C.,
minors; MICHELLE CROFT, individually and
on behalf of J.J.B., a minor; AMANDA
DEVEREAUX, individually and on behalf of
P.D., a minor; CARISSA FROYUM ROISE,                    Case No. 4:21-cv-264
individually and on behalf of H.J.F.R., a minor;
LIDIJA GEEST, individually and on behalf of
K.G., a minor; MELISSA HADDEN,
individually and on behalf of V.M.H., a minor;
HEATHER LYNN PRESTON, individually
and on behalf of M.P. and S.P, minors; LISA
HARDISTY SITHONNORATH, individually
and on behalf of A.S., a minor; REBEKAH
                                                        PLAIN IFFS APPENDIX IN
STEWART, individually and on behalf of
E.M.S., a minor; and ERIN VERCANDE,                     SUPPORT OF THE PARTIALLY
                                                        UNRESISTED MOTION FOR
individually and on behalf of S.V., a minor,
                                                        SUMMARY JUDGMENT
               Plaintiffs,
       v.

KIM REYNOLDS, in her official capacity as
Governor of Iowa; ANN LEBO, in her official
capacity as Director of the Iowa Department of
Education; ANKENY COMMUNITY
SCHOOL DISTRICT; COUNCIL BLUFFS
COMMUNITY SCHOOL DISTRICT;
DAVENPORT COMMUNITY SCHOOL
DISTRICT; DECORAH COMMUNITY
SCHOOL DISTRICT; DENVER
COMMUNITY SCHOOL DISTRICT; DES
MOINES PUBLIC SCHOOLS; IOWA CITY
COMMUNITY SCHOOL DISTRICT;
JOHNSTON COMMUNITY SCHOOL
DISTRICT; LINN MAR COMMUNITY
SCHOOL DISTRICT; and WATERLOO
COMMUNITY SCHOOL DISTRICT,

               Defendants.




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PLAINTIFFS' APPENDIX 012
PLAINTIFFS' APPENDIX 013
                                                                                          EXHIBIT A

June 2022
                                         Curriculum Vitae
                                Stephen J. Mooradian, MD
Personal Data:
Current Position:      Pediatric Cardiologist
                       Pediatric Cardiology, P.C.

Office address:        330 Laurel Street, Suite 2200
                       Des Moines, Iowa 50314
                       Tel. (515) 288-1097
                       Fax. (515) 288-2847
                       E-mail: stephenm@pedscard.com

Date of Birth:         24 November 1967
Citizenship:           United States of America

Medical Licensure:
1997-2006              State of Michigan, No. 4301063710
2007-Present           State of Iowa, No. 33317

Certification:
1997-2011              American Board of Pediatrics, General Pediatrics
2000-Present           American Board of Pediatrics, Pediatric Cardiology

Society Memberships:
2000-Present           Polk County Medical Society
2000-Present           Iowa Medical Society
2000-Present           American Society of Echocardiography
2002-Present           Fellow, American College of Cardiology

Education:
1985-1989              Harvard College, AB in Medical Anthropology, cum laude
1990-1994              Columbia College of Physicians and Surgeons, MD

Post-Graduate Training:
1994-1997              Pediatric Residency: C.S. Mott Children’s Hospital, University of Michigan
1997-2000              Pediatric Cardiology Fellowship: University of Michigan Congenital Heart Center




                                     PLAINTIFFS' APPENDIX 014
                                                                                    SJ Mooradian, MD

Leadership Activities:
2015-2016              Vice-chair, Department of Pediatrics, Mercy Medical Center
2016-2017              Chair, Department of Pediatrics, Mercy Medical Center

Honors and Awards:
1987-1989              Harvard College Scholarship for Academic Excellence
1988-1989              White Scholarship for Academic Achievement at Harvard University
1991                   Rudin Scholarship; Columbia Center for the Study of Medicine and Society
1994                   Marie Nercessian award for dedication to the care of sick people
1994                   Rebecca A. Schwartz Prize for outstanding work in Pediatric Cardiology
2008                   Teaching / Academic Excellence Award, Blank Children’s Hospital
2017                   Pediatric Recognition Award, Blank Children’s Hospital

Publications:
2000                   Mooradian S, Goldberg C, Crowley D, Ludomirsky, A. Evaluation of a Noninvasive
                       Index of Global Ventricular Function to Predict Rejection Following Pediatric
                       Cardiac Transplantation. The American Journal of Cardiology; 86: 358-360.

Research Presentations:
                      A Non-Invasive Index for Global Ventricular Function: A Predictor for Rejection
                      after Pediatric Cardiac Transplantation?
1998                  Oral Presentation, Midwest Pediatric Cardiology Society annual meeting
1998                  Poster Presentation, Michigan Chapter of ACC annual meeting
1999                  Oral Presentation, American Society of Echocardiography annual meeting

Teaching Activities:
2000-Present           Numerous lectures on pediatric cardiology topics
                       - Des Moines University, 4-8 lectures per year
                       - Mercy Medical Center
                       - Blank Children’s Hospital




                                     PLAINTIFFS' APPENDIX 015
Exhibit C
  PLAINTIFFS' APPENDIX 016
PLAINTIFFS' APPENDIX 017
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    Le er De ail                  Han

                                                                         AMERICAN FAMIL CHILDRENS HOSPITAL P LMONAR
                                                                                                    1675 HIGHLAND AVE
                                                                                                     MADISON WI 53792
                                                                                                           608-263-6420




                       J ne 20, 2022


                       Han Jo eph Fro       m Roi e
                       103 Arro head
                       Ridge Rd
                       Den er IA 50622


                             To Whom I Ma Concern:

                             Han Fro m Roi e (04/22/2011) i an e abli hed pa ien of mine a American Famil
                             Children Ho pi al P lmonar . Han ha he follo ing diagno e : Congeni al Cen ral
                             H po en ila ion S ndrome (CCHS), a onomic d f nc ion, chronic re pira or fail re
                              i h h po ia and h percapnia, and dependence on bile el po i i e air a pre re
                              en ila ion d e o cen ral leep apnea.

                             Beca e Han ha CCHS, he i a an ele a ed ri k of needing addi ional en ila or
                               ppor if he ho ld con rac COVID-19. COVID-19 i differen from infl en a and RSV
                             a i ha a higher ri k for lingering/ ained effec .

                             A    ch, he benefi from earing a face ma k o red ce he ri k of con rac ing COVID-
                             19. He ho ld follo he CDC g ideline on ma king. He i free o al a        ear a
                             ma k if he prefer , a ha doe no con i e an harm for him.

                             Per c rren CDC g ideline , hen hi co n i in he medi m ran mi ion ca egor ,
                             he ho ld ear a ma k hen indoor        i h o her non-ho ehold con ac . When hi
                             co n i in he high ran mi ion ca egor , e recommend ha all people ho ld ear
                             a ma k hen indoor     i h o her people o red ce Han ' e po re o COVID-19 pread
                             b o her .

                             If o ha e an q e ion , plea e con ac o r office a 608-263-6420.

                             Sincerel ,




                             Timo h D S arner, MD
                             Elec ronicall igned b Timo h D S arner, MD on 6/20/2022 a 12:53 PM
                             Dep of Pedia ric P lmonar and Sleep Medicine Di i ion
                             American Famil Children' Ho pi al; Uni er i of Wi con in - Madi on
                             Phone: 608-263-6420 Op ion 2
                                                      PLAINTIFFS' APPENDIX 018
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6/21/22, 5:02 AM                                                            M Char - Le er

                              FAX: 608-890-6395
                              NPI: 1972592004

                       Pa ien Name: Han Jo eph Fro   m Roi e (DOB: 4/22/2011) MRN: 3339637                  Page 1 of 1




          Thi le e      a ini iall   ie ed b Adam F o m Roi e a                   AM




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Exhibit D
  PLAINTIFFS' APPENDIX 020
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 1                                     Declaration of Dr. Joel Waddell
 2            I, Dr. Joel Waddell, declare as follows under penalty of perjury pursuant to 28 U.S.C. §
 3   1746:
 4                                               Background
 5      1. I am currently a practicing pediatric infectious diseases physician at the Blank Children’s
 6            Hospital in Des Moines, Iowa. At the Blank Children’s Hospital, I currently serve as the
 7            Pediatric Residency Associate Program Director and as the Pediatric Residency
 8            Curriculum Committee Chair.       All statements within this declaration represent my
 9            thoughts, and these statements do not necessarily represent the positions of Blank
10            Children’s Hospital, Iowa Methodist Medical Center, or UnityPoint Health.
11      2. I received my Bachelor of Science from East Tennessee State University in 2009 and my
12            D.O. from Des Moines University in 2013. I completed my residency in General Pediatrics
13            at Kansas University in 2016 and fellowship in Pediatric Infectious Diseases at the
14            University of Missouri–Kansas City in 2019. I received three years of additional training
15            in Pediatric Clinical Pharmacology at the University of Missouri–Kansas City. I am
16            currently a member of the Society for Pediatric Research, the Pediatric Infectious Diseases
17            Society, the Infectious Diseases Society of America, the Society for Healthcare
18            Epidemiology of America, and the American Academy of Pediatrics.
19      3. Since completing my residency and fellowship training, I have practiced at the Blank
20            Children’s Hospital in Des Moines providing both inpatient and outpatient consultations in
21            pediatric infectious diseases. In addition to serving as the Pediatric Residency Associate
22            Program Director and as the Pediatric Residency Curriculum Committee Chair, I am also
23            a member of the Pediatric Residency Scholarship Oversight Committee and the Pediatric
24            Death Review Committee. Before beginning at the Blank Children’s Hospital, I also served
25            on various committees during my time as a resident and as a fellow. I served for two years
26            (2017-2019) as a member of the Pediatric Infectious Diseases Society Research Affairs
27            Committee, for two years (2017-2019) as a member of the Musculoskeletal Infection
28            Hospital Care Committee at Children’s Mercy Hospital, for two years (2014-2016) as a
29            member of the Pediatric Hospital Ethics Committee at the Kansas University Medical
30            Center, for three years (2013-2016) as a member of the Pediatric Medical Education
31            Committee at the Kansas University Pediatric Residency program, and for two years (2009-

                                                       1

                                         PLAINTIFFS' APPENDIX 021
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32      2011) as the Research Committee Chair of the Student Osteopathic Medical Association at
33      Des Moines University.
34   4. My academic and medical policy work includes forty scientific presentations and invited
35      lectures, two co-authored hospital policies and handbooks, and two co-authored
36      publications on subjects relevant to pediatric infectious diseases. I have also appeared in
37      nine television, newspaper, and radio interviews where I provided insight into the impact
38      of COVID-19 on children. I spoke at the state of Iowa’s annual school nursing conference
39      discussing COVID-19 clinical presentations, treatment options, and various modalities to
40      prevent COVID-19 infections in schools. I have provided five didactic lectures regarding
41      COVID-19 in children at three different medical centers in Iowa. Additionally, I will be
42      the keynote speaker at the 2021 Iowa Physiology Society annual meeting in December
43      2021.
44   5. I received the Most Outstanding Faculty Teaching Award at the Blank Children’s Hospital
45      Pediatrics Residency Program in 2021, the Teaching & Academic Excellence Award at the
46      Blank Children’s Hospital Pediatric Education Department in 2019, the Most Outstanding
47      Fellow Teaching Award at Children’s Mercy Hospital, the Most Outstanding Pediatric
48      Resident Award at the Kansas University Pediatric Residency program in 2016, and the
49      Resident Researcher of the Year Award at the Kansas University Pediatric Residency
50      program in 2015.
51   6. My CV is attached as Exhibit A.
52   7. I am familiar with the state law prohibiting mask mandates in schools. In my expert
53      opinion, this law will hurt the children of this state and their families by denying schools
54      the ability to fashion policies for their districts that attend to the health needs of their
55      students. If students face the prospect of going to school in areas of substantial or high risk
56      of COVID-19 transmission, with no requirements of masks, they are forced either to attend
57      school at risk to their health and that of their families or to stay out of school, also a risk to
58      their physical psychological, emotional, and developmental well-being. I am particularly
59      concerned for those students with disabilities that increase the risk of severe illness should
60      they contract COVID-19. Given the dominance of the Delta variant in Iowa and across the
61      United States, it is even more likely that entire classrooms, including those with students



                                                    2

                                     PLAINTIFFS' APPENDIX 022
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62              with disabilities, could be infected with COVID-19 in the absence of vaccines or mask
63              mandates.
64       8. I am not being compensated for my time reviewing materials and preparing this report.
65
66        I.        Increased COVID-19 Transmission and Prevalence of the Delta Variant in Iowa
67       9. The beginning of this school year coincides with a dramatic increase in COVID-19
68              transmission. As of August 31, all but three of Iowa’s ninety-nine counties were
69              experiencing “high” levels of community COVID-19 transmission, with “high” being the
70              most severe CDC transmission designation.1 Between June 27 and August 31, the average
71              daily cases per 100,000 residents in Iowa has risen sixteen-fold from two per 100,000 to
72              thirty-three per 100,000.2 Furthermore, the test positivity rate, an indicator of increasing
73              COVID-19 community spread,3 has risen seven-fold from about 2% to over 14% during
74              this same time period.4 Iowa is also experiencing a faster rate of increase in new COVID-
75              19 cases than the United States as a whole; for the fourteen-day period ending on August
76              31, Iowa recorded a 46% increase in daily average COVID-19 cases per 100,000 residents,
77              compared to a 18% increase in this same rate for the United States as a whole.5
78       10. Iowa’s hospitals show the strain of the COVID-19 pandemic. As of August 31, the State
79              of Iowa reported 498 COVID-19 hospitalizations, a number not seen since the 2020-2021
80              winter COVID-19 surge.6 August also saw an all-time low availability of ICU beds
81              available in Iowa. On September 2, the state of Iowa Regional Medical Coordination
82              Center Dashboard reported only 297 available ICU beds in the state of Iowa, fewer
83              available beds than at any point during the 2020-2021 winter COVID-19 surge.7


     1
       COVID-19 Integrated County View, Ctrs. for Disease Control & Prevention (Aug. 31, 2021 update),
     https://covid.cdc.gov/covid-data-tracker/#county-view (last visited Sept. 2, 2021).
     2
       Mayo Found. for Medical Educ. & Res., Iowa coronavirus map: What do the trends mean for you?, Mayo Clinic,
     https://www.mayoclinic.org/coronavirus-covid-19/map/iowa (last visited Sept. 2, 2021).
     3
       See, e.g., Positivity Rate Explained, Barry-Eaton Dist. Health Dep’t. (Oct. 2020),
     https://www.barryeatonhealth.org/sites/default/files/Positivity%20Rate%20Explained.pdf (last visited Sept. 2,
     2021).
     4
       Mayo Found. for Medical Educ. & Res., supra note 2.
     5
       Coronavirus in the U.S.: Latest Map and Case Count, N.Y. Times (Sept. 2, 2021 update),
     https://www.nytimes.com/interactive/2021/us/covid-cases.html (last visited Sept. 2, 2021).
     6
       Hospitalization Analysis, Iowa Dep't of Pub. Health, https://coronavirus.iowa.gov/pages/hospitalization-analysis
     (last visited Sept. 2, 2021).
     7
       Hospital Data Summary, Regional Medical Coordination Center Dashboard, Iowa Dep't of Pub. Health,
     https://coronavirus.iowa.gov/pages/rmcc-data (last visited Sept. 2, 2021).

                                                              3

                                              PLAINTIFFS' APPENDIX 023
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 84       11. The COVID-19 Delta variant is estimated to account for 99.7% of COVID-19 infections
 85           in HHS Region 7, which includes Iowa, as of August 31.8 This is relevant to the overall
 86           COVID-19 transmission landscape given that the Center for Disease Control and
 87           Prevention (CDC) estimates that the Delta variant is at least twice as transmissible as
 88           previous variants and that it could likely lead to more severe illness in adults.9
 89
 90                             II.     The Impact of the Delta Variant for Children
 91       12. Pediatric COVID-19 cases comprise an increasing share of overall COVID-19 cases in the
 92           United States. While Iowa stopped updating its pediatric COVID-19 testing data on July
 93           15,10 the most recent available data from Iowa suggest a similar trend statewide as well.
 94           On August 16, 2021, the number of children hospitalized due to COVID-19 in the United
 95           States reached an all-time high exceeding 1,900.11 Pediatric hospitalizations now account
 96           for 2.3% of all COVID-19-related hospitalizations, compared to less than 1% in May of
 97           2020.12 Similarly, pediatric COVID-19 cases represented fewer than 5% of all cases in
 98           May of 2020, but now account for over 14% of total cases.13
 99       13. In Iowa, the most recent data indicate similar trends. According to the last full week of
100           pediatric data reporting in Iowa, ending on July 8, there were nearly 50,000 cumulative
101           childhood COVID-19 cases reported in the state.14 Even with the gap in data reporting,
102           Iowa still exceeds the national average in terms of cumulative COVID-19 cases per
103           100,000 children.15 Since Iowa last reported pediatric COVID-19 data, the weekly number
104           of new pediatric COVID-19 cases has increased ten-fold from fewer than 20,000 to over




      8
        COVID Data Tracker: Variant Proportions, Ctrs. for Disease Control & Prevention (Aug. 28, 2021 update),
      https://covid.cdc.gov/covid-data-tracker/#variant-proportions (last visited Sept. 2, 2021).
      9
        Delta Variant: What We Know About the Science, Ctrs. for Disease Control & Prevention (May 7, 2021 update),
      https://www.cdc.gov/coronavirus/2019-ncov/variants/delta-variant.html (last visited Sept. 2, 2021).
      10
         Children and COVID-19: State Data Report: Version: 8/26/21, Am. Acad. Pediatrics (Aug. 26, 2021 update),
      https://www.aap.org/en/pages/2019-novel-coronavirus-covid-19-infections/children-and-covid-19-state-level-data-
      report/ (last visited Sept. 2, 2021).
      11
         Carolyn Crist, U.S. Reports Record COVID Hospitalizations of Children, WebMD (Aug. 16, 2021),
      https://www.webmd.com/lung/news/20210816/u-s-reports-record-covid-hospitalizations-of-children (last visited
      Sept. 2, 2021).
      12
         Children and COVID-19: State Data Report, supra note 11, at 16, 20.
      13
         Id. at 12, 15.
      14
         Id. at 25.
      15
         Id.

                                                             4

                                              PLAINTIFFS' APPENDIX 024
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105               203,962 as of August 26.16 It is clear from the available data that COVID-19 currently
106               presents as acute threat to children in Iowa.
107
108        III.       The Availability of Vaccines for Children and Overall Vaccination Rates in Iowa
109        14. Children in Iowa are vulnerable to the Delta variant given the unavailability of vaccines
110               from children under the age of twelve and the low vaccination rate for children twelve to
111               nineteen years old. None of the three available COVID-19 vaccines have been approved,
112               for emergency use or otherwise, for children under the age of twelve.17 As of September 2,
113               only about 30% of children aged twelve to fifteen were fully vaccinated, only about 39%
114               of children aged sixteen and seventeen were fully vaccinated, and only about 40% of
115               adolescents aged eighteen and nineteen were fully vaccinated in Iowa.18 Nationally, 64%
116               of adults above the age of eighteen were fully vaccinated as of September 2, underscoring
117               the particularly low vaccine coverage for Iowa minors.19
118        15. In addition, as with adults, some children with cancer, immunodeficiencies, and those
119               receiving immunosuppressive medications cannot mount an appropriate immune response
120               to COVID-19 vaccines. Therefore, they are less protected from COVID-19 vaccination.
121        16. According to the CDC, unvaccinated people are much more likely to contract, transmit,
122               and experience severe symptomatic illness from the Delta variant than their vaccinated
123               counterparts.20 In light of the data on pediatric vaccination rates and the unavailability of
124               vaccines to the youngest school-aged children, children account for a disproportionate
125               share of Americans to whom the Delta variant poses the greatest risk.
126




      16
         Id. at 9.
      17
         Covid-19 Vaccines for Children and Teens, Ctrs. for Disease Control & Prevention (Aug. 17, 2021 update),
      https://www.cdc.gov/coronavirus/2019-ncov/vaccines/recommendations/adolescents.html (last visited Sept. 2,
      2021).
      18
         Fully Vaccinated Demographics, Iowa Dep't of Pub. Health,
      https://coronavirus.iowa.gov/pages/vaccineinformation (last visited Sept. 2, 2021).
      19
         See How Vaccinations Are Going in Your County and State, N.Y. Times (Sept. 1, 2021 update),
      https://www.nytimes.com/interactive/2020/us/covid-19-vaccine-doses.html (last visited Sept. 2, 2021).
      19
         Hospitalization Analysis, Iowa Dep't of Pub. Health, https://coronavirus.iowa.gov/pages/hospitalization-analysis
      (last visited Sept. 2, 2021).
      20
         Delta Variant: What We Know About the Science, Ctrs. for Disease Control & Prevention (Aug. 27, 2021 update),
      https://www.cdc.gov/coronavirus/2019-ncov/variants/delta-variant.html (last visited Sept. 2, 2021).

                                                               5

                                               PLAINTIFFS' APPENDIX 025
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127            IV.     Conditions That Can Put Children at Greater Risk of Severe Illness from
128                                                          COVID-19
129        17. As noted above, children are particularly vulnerable to COVID-19 as a result of vaccination
130           rates within this population. Of greatest concern are those children who are not or cannot
131           be vaccinated who have underlying medical conditions that increase their risk for severe
132           illness as a result of COVID-19 infection. According to the CDC, “children with medical
133           complexity, with genetic, neurologic, metabolic conditions, or with congenital heart
134           disease,” as well as “children with obesity, diabetes, asthma or chronic lung disease, sickle
135           cell disease, or immunosuppression” may fall into this category.21
136        18. Most if not all of the children with these conditions are disabled within the meaning of the
137           Americans with Disabilities Act (the ADA).22 The ADA defines disability as “a physical
138           or mental impairment that substantially limits one or more major life activities of such
139           individual.”23 Major life activities for purposes of the Act “include but are not limited to,
140           caring for oneself, performing manual tasks, seeing, hearing, eating, sleeping, walking,
141           standing, lifting, bending, speaking, breathing, learning, reading, concentrating, thinking,
142           communicating, and working;” a major life activity “also includes the operation of a major
143           bodily function, including but not limited to, functions of the immune system, normal cell
144           growth, digestive, bowel, bladder, neurological, brain, respiratory, circulatory, endocrine,
145           and reproductive functions.”24 Conditions such as asthma, chronic lung disease, diabetes,
146           sickle cell disease, and congenital heart disease by definition substantially limit a major
147           bodily function.
148        19. These are not the only children at risk of grave harm. Individuals with intellectual
149           disabilities are also at increased risk of contracting COVID-19 and of dying from COVID-
150           19 infection. A recent study published in the New England Journal of Medicine—working
151           with a data set of 64,414,495 patients across more than 500 U.S. healthcare systems, of
152           which “127,003 were patients with intellectual disabilities and 64,287,492 were patients
153           without intellectual disabilities”—concluded that “intellectual disability was the strongest

      21
         People with Certain Medical Conditions, Ctrs. for Disease Control & Prevention (Aug. 20, 2021 update),
      https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-conditions.html (last
      visited Sept. 2, 2021).
      22
         42 U.S.C. § 12101 et seq.
      23
         42 U.S.C. § 12102(1).
      24
         42 U.S.C. §§ 12102(2)(A)-(B).

                                                             6

                                              PLAINTIFFS' APPENDIX 026
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154           independent risk factor for presenting with a Covid-19 diagnosis and the strongest
155           independent risk factor other than age for Covid-19 mortality.”25 The study found
156           individuals with intellectual disabilities were more likely to contract COVID; if diagnosed
157           with COVID, more likely to be admitted to the hospital; and more likely to die following
158           admission.26 The risks reflect the risks associated with intellectual disability itself, as well
159           as comorbidities that in the study were overrepresented among those with intellectual
160           disabilities. Notably, the odds of mortality among those with intellectual disabilities in the
161           study were “significantly higher than other conditions such as congestive heart failure,
162           kidney disease, and lung disease.”27
163        20. During the 2020-2021 school year, the families of many of my patients have expressed
164           significant concerns about their children being exposed to COVID-19 in school. However,
165           they are even more concerned about the 2021-2022 school year due to the Delta variant
166           and lack of mask mandates. The parents of a young child (under the age of twelve) told
167           me they lie awake every night trying to balance the risks of sending their boy to school.
168           The child has a genetic immunodeficiency. Therefore, he is at higher risks of various
169           infections and their complications, including more severe outcomes from COVID-19.
170           These parents are anguished because they know how healthy and important in-person
171           school is for their boy, but they fully understand the likelihood of their child contracting
172           COVID-19 from their unvaccinated peers without masks. Another family of a young girl
173           with leukemia has expressed similar concerns. They no longer believe that our schools are
174           a safe place for their child. I have been caring for a teenage young lady who is on various
175           immunosuppressant medications due to a rheumatologic condition. While she has been
176           vaccinated against COVID-19, she is less likely to be protected from COVID-19 infection.
177           I have sat with the mother of this patient as she cries not seeing a safe avenue for in-person
178           school for her daughter. I have also had to sit with many distraught families of previously
179           healthy children who require hospitalization with post-infectious complications of
180           COVID-19 called Multisystem Inflammatory Syndrome in Children (MIS-C). With MIS-


      25
         Jonathan Gleason et. al., Commentary: The Devastating Impact of Covid-19 on Individuals with Intellectual
      Disabilities in the United States, New Eng. J. Med. (Mar. 5, 2021),
      https://catalyst.nejm.org/doi/full/10.1056/CAT.21.0051 (last visited Sept. 2, 2021).
      26
         Id.
      27
         Id.

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181              C, children often require continuous infusions of medications that help their heart beat
182              strong enough to maintain life. Several of these parents have looked me in the eyes while
183              crying and asked, “could we have done something to prevent this from happening?” If the
184              appropriate risk mitigation steps are not taken in the schools of Iowa, we will almost surely
185              see more cases of MIS-C and other complications of COVID-19 in children this school
186              year compared to last year.
187        21. Finally, when we think about the risk to children in the state, we can’t ignore the risk of
188              children developing what has come to be known as long COVID, where symptoms remain
189              months after an initial COVID diagnosis. While study is essential to know the scope of
190              long COVID in children, with current estimates varying significantly, there are increasing
191              concerns about the long-term impact of COVID even among the asymptomatic.28
192
193        V.        CDC and State Department of Health Recommendations on Masking in Schools
194                  and the Efficacy of Masking for Reducing COVID-19 Transmission
195        22. The CDC recommends “universal indoor masking for all students, staff, teachers, and
196              visitors to K-12 schools, regardless of vaccination status.”29 Underlying the CDC guidance
197              are concerns about “the highly transmissible nature of this variant,” the ineligibility of
198              children under twelve for the vaccine, and low levels of vaccination among youth ages
199              twelve to seventeen, all factors present in our state at this time.30
200        23. Leading medical organizations, including the American Academy of Pediatrics and the
201              American Medical Association, similarly recommend universal masking as part of school
202              openings.31
203        24. In addition to national organizations, the local health departments in each of Iowa’s three
204              most populous counties (Polk, Linn, and Scott counties) all recommend universal mask-
205              wearing in indoor settings. The Scott County Health Department simply recommends
206              “[m]asking of all in indoor spaces,” and the Polk County Health Department and the Linn

      28
         See, e.g., Dyani Lewis, Long COVID and Kids: Scientists Race to Find Answers, 595 Nature 482 (2021).
      29
         Guidance for Covid-19 Prevention in K-12 Schools, Ctrs. for Disease Control & Prevention (Aug. 5, 2021
      update), https://www.cdc.gov/coronavirus/2019-ncov/community/schools-childcare/k-12-guidance.html (last visited
      Sept. 2, 2021).
      30
         Id.
      31
         See, e.g., American Academy of Pediatrics Updates Recommendations for Opening Schools in Fall 2021, Am.
      Acad. Pediatrics (July 19, 2021), https://www.aap.org/en/news-room/news-releases/aap/2021/american-academy-of-
      pediatrics-updates-recommendations-for-opening-schools-in-fall-2021/.

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207           County Health Department both explicitly state that schools fall under their universal
208           mask-wearing recommendations.32 The Iowa Medical Society and the Iowa Chapter of the
209           American Academy of Pediatrics both recommend universal indoor masking by all
210           students (age two and older), staff, teachers, and visitors to K-12 schools, regardless of
211           vaccination status.33
212        25. Recent studies have confirmed that wearing masks is one of the most powerful tools to
213           thwart the transmission of COVID-19 in indoor settings, such as schools. Researchers at
214           Duke University conducted a study on COVID-19 transmission within schools following
215           “Plan A” which “provided full, in-person instruction, masking, and minimal physical
216           distancing.”34 Analysis conducted by Duke University researchers using data from North
217           Carolina K-12 schools —data that included more than 1,280,000 students and 160,000
218           staff—found that “there is very limited within-school transmission of COVID-19 in
219           schools participating in Plan A,” leading the researchers to conclude that “wearing masks
220           is an effective strategy to prevent in-school COVID-19 transmission.”35
221        26. This study confirms what the CDC and other studies have reported. The CDC has stated,
222           “Experimental and epidemiological data support community masking to reduce the spread”
223           of the Delta variant.36 A recent literature review concluded that “nonmedical masks have
224           been effective in reducing transmission of respiratory viruses; and places and time periods




      32
         Quad Cities COVID-19 Coalition: August 19 Press Release, Scott Cnty. (Aug. 19, 2021),
      https://www.scottcountyiowa.gov/sites/default/files/attachments/posts/20210819_COVID-
      19_Update_on_Public_Health_Response.pdf (Scott County); COVID-19 cases and hospitalizations are surging: It
      is time for our community to step up and do the right thing, Polk Cnty. (Aug. 24, 2021),
      https://www.polkcountyiowa.gov/health-department/news-and-press-releases/covid-19-cases-and-hospitalizations-
      are-surging-it-is-time-for-our-community-to-step-up-and-do-the-right-thing/ (Polk County); Grace King, Masks
      should be mandated to be worn in schools, Linn County board of health says, Gazette (Aug. 30, 2021),
      https://www.thegazette.com/k/masks-should-be-mandated-to-be-worn-in-schools-linn-county-board-of-health-says/
      (last visited Sept. 2, 2021).
      33
         Sydney Maras, IMS & IA AAP: Back to School Face Mask Usage Statement, Iowa Medical Society (Aug. 19,
      2021), https://www.iowamedical.org/news/10941537 (last visited Sept. 2, 2021).
      34
         The ABCs of North Carolina's Plan A, ABC Science Collaborative (July 1, 2021),
      https://abcsciencecollaborative.org/the-abcs-of-north-carolinas-plan-a/ (last visited Sept. 2, 2021).
      35
         Letter from Danny Benjamin & Kanecia Zimmerman to Joint Legislative Education Oversight Committee et al.
      (June 30, 2021), https://abcsciencecollaborative.org/wp-content/uploads/2021/06/ABCs-Final-Report-June-2021.06-
      esig-DB-KZ-6-29-21.pdf (last visited Sept. 2, 2021).
      36
         Science Brief: Community Use of Cloth Masks to Control the Spread of SARS-CoV-2, Ctrs. for Disease Control &
      Prevention (May 7, 2021 update), https://www.cdc.gov/coronavirus/2019-ncov/science/science-briefs/masking-
      science-sars-cov2.html#anchor_1619456988446 (last visited Sept. 2, 2021).

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225              where mask usage is required or widespread have shown substantially lower community
226              transmission.”37
227        27. Masking is also critical for the health of those who, for reasons of disability, cannot mask.
228              Those include people who struggle to take a mask off and on, whether because of motor
229              skills or cognitive issues; people with sensory processing disorders; and people with facial
230              deformities incompatible with a mask, among others.38
231        28. As noted above, families that I worked with and all of the children not vaccinated are at
232              great risk for a COVID-19 infection. Given the rise in pediatric infections (and adult
233              infections) due to the Delta variant of COVID-19, in my expert opinion, the only safe
234              course at this time is universal masking for children for safe attendance at school and
235              school-related functions until our public health officials declare a safe level of population-
236              wide vaccination. As a pediatric infectious diseases physician, I am concerned about all
237              children but particularly worried about those children with complex medical conditions
238              and/or disabilities since the latter group could more likely sustain severe illness or even
239              death. The risk of death is low overall, but certainly elevated for the vulnerable group. Any
240              severe illness or death is unacceptable for a preventable disease.
241
242        VI.       The Necessity of Allowing Iowa Schools to Set Their Own Mask Policies
243        29. Iowa’s Mask Mandate Prohibition denies school districts the ability to require masks to
244              protect their students and staff. In communities where COVID-19 is prevalent, parents with
245              children with conditions that can make them vulnerable to severe illness in particular will
246              face a terrible dilemma of whether to risk their children’s health and even life, or to keep
247              the children out of school. That is not a decision they should be forced to make, when we
248              have the option of masks to protect the safety of those in the school.
249        30. My concern is greatest for these children, but it does not stop there. No child should risk
250              serious illness if we can prevent it.




      37
         Howard et. al., An evidence review of face masks against COVID-19, 118 PNAS 1, 1-12 (2021); Cheng, et al.,
      Face masks effectively limit the probability of SARS-CoV-2 transmission, 372 Science 1439, 1439-1443 (2021).
      38
         Doron Dorfman & Mical Raz, Mask Exemptions During the COVID-19 Pandemic—A New Frontier for
      Clinicians, JAMA Health Forum (July 10, 2020), https://jamanetwork.com/journals/jama-health-
      forum/fullarticle/2768376?resultClick=1.

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                                             Curriculum Vitae
                                            Joel Waddell, D. O.

Date of Preparation: 08/28/2021

Citizenship Status

Country of Citizenship               Type of Visa                Work Authorization End Date

USA

EDUCATION

• Baccalaureate Degree

Year                 Degree                       Institution                       City, State
2004-2009            Bachelor of Science          East Tennessee State University   Johnson City, TN

• Graduate Degrees (Masters/Doctorate)

Year                 Degree                       Institution                       City, State
2009-2013            D.O.                         Des Moines University             Des Moines, IA

• Residency/Fellowship Training
Year            Specialty                         Institution                       City, State
2013-2016            General Pediatrics           Kansas University                 Kansas City, KS

2016-2019            Pediatric Clinical Pharmacy University of Missouri-Kansas      Kansas City, MO
2016-2019            Pediatric Infectious Diseases City/Children’s Mercy Hospital


Practice/Employment History (starting with most recent)

Years                Practice Organization/Employer                                 City, State
2019-Present         Blank Children’s Hospital                                      Des Moines, IA

Certification and Licensure

• Certifications:

Board                          Initial Year       Most Recent Cert. Yr.             Certificate No.
American Board of Pediatrics         2016         2016                              118135

American Board of Pediatrics         2019         2019                              1747



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• Medical Licensure (current)

State                Initial Date                License No.

Iowa                 2019                        DO-05386

Leadership Positions

Years                Position
2021 – Present       Pediatric Residency Associate Program Director
                     Blank Children’s Hospital, Des Moines, IA

2021 – Present       Pediatric Residency Curriculum Committee Chair
                     Blank Children’s Hospital, Des Moines, IA

2020 – Present       Pediatric Residency Scholarship Oversight Committee Member
                     Blank Children’s Hospital, Des Moines, IA

2020 – Present       Pediatric Death Review Committee Member
                     Blank Children’s Hospital, Des Moines, IA

2017 – 2019          Musculoskeletal Infection Hospital Care Committee Member
                     Children’s Mercy Hospital, Kansas City, MO

2017 – 2019          Pediatric Infectious Diseases Society Research Affairs Committee
                     Member

2016 – 2019          Fellow Representative of Graduate Medical Education Committee
                     Children’s Mercy Hospital, Kansas City, MO

2015 – 2016          Resident Representative of Clinical Learning Environment Review
                     Program
                     Kansas University Pediatric Residency, Kansas City, KS

2014 – 2016          Resident Representative of Pediatric Hospital Ethics Committee
                     Kansas University Medical Center, Kansas City, KS

2014 – 2016          Clinical Skills Preceptor for Medical Students
                     Kansas University School of Medicine, Kansas City, KS

2013 – 2016          Resident Representative of Pediatric Medical Education Committee
                     Kansas University Pediatric Residency, Kansas City, KS

2009 – 2011          Research Committee Chair of Student Osteopathic Medical Association
                     Des Moines University, Des Moines, IA




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Professional Affiliations and Memberships (currently only)

Organization

2017 – Present    Society for Pediatric Research

2016 – Present    Pediatric Infectious Diseases Society

2016 – Present    Infectious Diseases Society of America

2016 – Present    The Society for Healthcare Epidemiology of America

2013 – Present    American Academy of Pediatrics

Honors and Awards (if any)
2021              Most Outstanding Faculty Teaching Award
                  Blank Children’s Hospital Pediatrics Residency, Des Moines, IA

2019              Teaching & Academic Excellence Award
                  Blank Children’s Hospital Pediatric Education Department, Des Moines, IA

2019              Most Outstanding Fellow Teaching Award Recipient
                  Children’s Mercy Hospital Graduate Medical Education, Kansas City, MO

2018              Most Outstanding Fellow Teaching Award Nominee
                  Children’s Mercy Hospital Graduate Medical Education, Kansas City, MO

2017              Most Outstanding Fellow Teaching Award Nominee
                  Children’s Mercy Hospital Graduate Medical Education, Kansas City, MO

2016              Excellence in Teaching Award: Most Outstanding Pediatric Resident
                  Kansas University School of Medicine, Kansas City, KS

2016              Most Outstanding Pediatric Resident
                  Kansas University Pediatric Residency, Kansas City, KS

2015              Excellence in Residency Award Nominee: Exceptional Student Mentoring
                  Kansas University School of Medicine, Kansas City, KS

2015              Resident Researcher of the Year Award
                  Kansas University Pediatric Residency, Kansas City, KS

2014              Pediatric Hematology/Oncology Intern of the Year Award
                  Kansas University Pediatric Residency, Kansas City, KS




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Publications and Presentations (if any)

• Papers Published or In Press

Kathryn E. Kyler, Brian R Lee, Earl F Glynn, Joel P Waddell, Mark A Hoffman, and Jennifer L Goldman.
Clinical outcome and antibiotic dosing differences by weight in children with acute osteomyelitis. Hospital
Pediatrics. Accepted on 4/27/2021.

Television Interview: Channel 8 KCCI News, Des Moines, IA. COVID-19 Delta variant, upcoming school
semester in Iowa, masks, and vaccines. August 27, 2021

Television Interview: Channel 8 KCCI News, Des Moines, IA. RSV, other illnesses keep Blank Children's
Hospital full, doctor says masks should be worn this fall. July 19, 2021.

Radio Interview: Iowa Public Radio – Talk of Iowa: Vaccine Offers Children 'Return To Normalcy,' Iowa
Doctors Say. May 13, 2021.

Newspaper Interview: Des Moines Register, Des Moines, IA. COVID vaccine will soon be offered to kids ages
12-15 — but will they come in for the shots? May 11, 2021.

Radio Interview: WHO Radio, Des Moines, IA. COVID-19 vaccine among adolescents. May 6, 2021.

Newspaper Interview: Des Moines Register, Des Moines, IA. Iowa doctor: 'It's going to be extremely difficult'
to get COVID herd immunity if kids can't be vaccinated. April 28, 2021.

Newspaper Interview: Des Moines Register, Des Moines, IA. COVID-19 rate in kids may be higher than
known, experts say, and until they can be vaccinated, pandemic may linger. April 25, 2021.

Television Interview: Channel 8 KCCI News, Des Moines, IA. What is PMIS? Rare illness linked to COVID-
19 comes to Iowa. May 18, 2020.

Television Interview: Channel 13 WHO News: MIS-C among children in Iowa. May 18, 2020.

Waddell, J. and McCulloh, R. “Pertussis.” From: Ferri’s Clinical Advisor. 2018.

Invasive mucormycosis management: mucorales PCR provides important, novel diagnostic information (poster
presentation). IDWeek™2018. San Francisco, CA. October 2018.

Coauthor of hospital’s outpatient antibiotic handbook. Children’s Mercy Hospital. Kansas City, MO. August
2018.

Clinical course and antibiotic dosing in healthy vs non-healthy weight children with osteomyelitis (poster
presentation). 2018 St. Jude/PIDS Pediatric Infectious Diseases Research Conference. Memphis, TN. March
2018.

Coauthor of hospital’s outbreak/suspected outbreak investigation policy. Children’s Mercy Hospital. Kansas
City, MO. January 2018.




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• Scientific Presentations/Invited Lectures

2021             Blank Children’s Hospital, Des Moines, IA: Pediatric Grand Rounds
                 Topic: COVID-19 vaccines in children

2021             Greater Regional Medical Center, Creston, IA: Lunch and Learn
                 Topic: COVID-19 in children

2021             State of Iowa Annual School Nursing Conference, Des Moines, IA:
                 Topic: COVID-19 in children

2021             Blank Children’s Hospital, Des Moines, IA: Pediatric Residency didactic lecture series
                 Topic: COVID-19 associated Multisystem inflammatory syndrome in children (MIS-C)

2021             Blank Children’s Hospital, Des Moines, IA: Webinar for Blank Children’s Hospital
                 Employees
                 Topic: COVID-19 pandemic and vaccines

2021             Clark County Hospital, Osceola, IA: Lunch and Learn
                 Topic: COVID-19 pandemic and vaccines

2021             Blank Children’s Hospital, Des Moines, IA: Hospital employee open forum
                 Topic: Q&A session regarding COVID-19 vaccines

2021             Blank Children’s Hospital, Des Moines, IA: Pediatric Residency board review lecture
                 series
                 Topic: Pediatric infectious diseases

2021             Blank Children’s Hospital, Des Moines, IA: Pediatric Residency didactic lecture series
                 Topic: Cervical lymphadenitis and skin/soft tissue infections

2021             Broadlawns Medical Center, Des Moines, IA: Family Medicine Residency didactic
                 lecture series
                 Topic: Top 10 outpatient pediatric infectious diseases

2020             Blank Children’s Hospital, Des Moines, IA: Pediatric Grand Rounds
                 Topic: Top 10 Vaccine Myths

2020             Blank Children’s Hospital, Des Moines, IA: Clinical Pathology Conference
                 Topic: Potts Puffy Tumor

2020             Blank Children’s Hospital, Des Moines, IA: Pediatric Residency didactic lecture series
                 Topic: Top 10 general outpatient pediatric infectious diseases

2020             Blank Children’s Hospital, Des Moines, IA: Pediatric Residency didactic lecture series
                 Topic: Infections in immunocompromised hosts

2020             Iowa Lutheran Hospital, Des Moines, IA: Family Medicine Residency didactic lecture
                 series
                 Topic: Top 10 general outpatient pediatric infectious diseases

2019             Blank Children’s Hospital, Des Moines, IA: Pediatric Residency didactic lecture series
                 Topic: Bugs and Drugs

2019             Children’s Mercy Hospital, Infectious Diseases Department, Kansas City, MO: Fellows’
                 didactic lecture series
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              Topic: Congenital infections

2019          Children’s Mercy Hospital, Infectious Diseases Department, Kansas City, MO: Fellows’
              didactic lecture series
              Topic: Recurrent fevers

2019          Children’s Mercy Hospital, Infectious Diseases Department, Kansas City, MO: Fellows’
              didactic lecture series
              Topic: Gastroenteritis

2018          Progressive disseminated histoplasmosis of infancy (platform presentation). Kansas
              City Infectious Diseases Society. Kansas City, KS. September 2018.

2018          Children’s Mercy Hospital, Clinical Pharmacology Mini Masters Course, Kansas City,
              MO.
              Topic: Utilizing big data resources to generate pharmacologic hypotheses

2018          Children’s Mercy Hospital, Infectious Diseases Department, Kansas City, MO: Journal
              Club
              Topic: Pharmacokinetic cefazolin modeling in bariatric surgery patients

2018          Children’s Mercy Hospital, Infectious Diseases Department, Kansas City, MO: Fellows’
              didactic lecture series
              Topic: Zoonoses

2017          Comparative analysis of initial antibiotic dosing among healthy weight, overweight, and
              obese children with osteomyelitis (poster presentation). IDWeek™2017. San Diego, CA.
              October 2017.

2017          Children’s Mercy Hospital, Infectious Diseases Department, Kansas City, MO: Fellows’
              didactic lecture series
              Topic: Viral CNS infections

2017          Children’s Mercy Hospital, Infectious Diseases Department, Kansas City, MO: Fellows’
              didactic lecture series
              Topic: Bacterial CNS infections

2017          Children’s Mercy Hospital, Infectious Diseases Department, Kansas City, MO: Journal
              Club
              Topic: Cellulitis, cephalexin, & obesity

2017          University of Missouri-Kansas City School of Pharmacy, Kansas City, MO: Second year
              pharmacy student lecture series
              Topic: Pediatric community-acquired pneumonia

2017          Children’s Mercy Hospital, General Pediatric and Medicine/Pediatric Residents, Kansas
              City, MO: Core resident educational lecture series
              Topic: Bugs and drugs

2017          Children’s Mercy Hospital, Infectious Diseases Department, Kansas City, MO: Research
              Conference
              Topic: Utilizing informatics-based research to answer questions regarding appropriate
              antibiotic dosing among obese children

2017          Children’s Mercy Hospital, Infectious Diseases Department, Kansas City, MO: Fellows’
              didactic lecture series

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              Topic: Antibiotic resistance mechanisms – a three part series

2016          Children’s Mercy Hospital, Infectious Diseases Department, Kansas City, MO: Journal
              Club
              Topic: Fever in returning traveler

2016          Children’s Mercy Hospital, Infectious Diseases Department, Kansas City, MO: Journal
              Club
              Topic: Impact of reported beta-lactam allergy on inpatient outcomes
              multicenter prospective cohort study

2016          Children’s Mercy Hospital, Infectious Diseases Department, Kansas City, MO: Journal
              Club
              Topic: Antimicrobial dosing and pediatric obesity: murky waters

2016          Kansas University, Department of Pediatrics, Kansas City, KS: Senior Resident
              Conference
              Topic: Improving resident research in an attempt to further evidence-based medicine
              within pediatrics

2015          Improving pediatric immunization rates in the inpatient setting: a hospital-based
              intervention (poster presentation). Academic Pediatric Association Region VI Fall
              Meeting. Kansas City, KS. September 2015.

2015          Children’s Mercy Hospital, Infectious Diseases Department, Kansas City, MO:
              Laboratory Presentation
              Topic: Ceftolozane/tazobactam activity against Pseudomonas
              aeruginosa strains in pediatric cystic fibrosis patients

2015          Kansas University, Department of Pediatrics, Kansas City, KS:
              Neonatology Conference
              Topic: Short & long term management of neonatal HIV

2014          Kansas University, Department of Pediatrics, Kansas City, KS:
              Board Prep lecture series
              Topic: Presented various COMLEX Step 1 topics to incoming 1st year
              pediatric residents

2013          Kansas University, Department of Pediatrics, Kansas City, KS:
              Center for Child Health & Development Lecture Series
              Topic: Congenital cytomegalovirus infections-
              neurodevelopmental/behavioral outcomes

2013          Kansas University, Department of Pediatrics, Kansas City, KS:
              Neonatology Conference
              Topic: Neonatal bacterial meningitis




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Exhibit E
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                                 Declaration of Dr. Megan Srinivas

I, Megan Srinivas, declare as follows under penalty of perjury pursuant to 28 U.S.C. § 1746:

                                            Background

1. I am currently an infectious diseases physician, clinical instructor, and fifth-year translational

   health policy research fellow at the University of North Carolina School of Medicine in Chapel

   Hill, North Carolina. Additionally, I currently serve as the infectious disease consultant for

   Broadlawns Medical Center in Des Moines, Iowa.

2. I am licensed to practice medicine in Iowa and North Carolina. I hold degrees from Harvard

   University (A.B. cum laude, Human Evolutionary Biology, 2009), Carver College of Medicine

   at the University of Iowa (MD, 2014); and Harvard University.. School of Public Health

   (MPH, Global Health & Health Policy, 2014). I completed my residency in Internal Medicine

   at Johns Hopkins School of Medicine (2017) and my fellowship in Infectious Disease at the

   University of North Carolina (2019). I also hold two board certifications with the American

   Board of Internal Medicine in 1) Internal Medicine and 2) Infectious Disease.

3. I worked for 2.5 years at the Fort Dodge Community Health Center as its only infectious

   diseases and internal medicine physician (January 2018-July 2020). I also have been providing

    e ehea h He a       C ca e        a I   a   h    gh I   a P     ec ECHO since March 2019.

4. I have extensive work and research experience in the areas of infectious disease and public

   health and have served on numerous state and national boards, committees, and panels. Most

   relevant to the this case, I currently sit on the Infectious Disease Society of America (IDSA)

   Public Health Advisory Board, which represents all infectious disease providers in the nation.

   I am also a national delegate to the American Medical Association (AMA), which represents

   all physicians in the United States. I sit on the AMA 12-person national Council on Medical




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   Se     ce a d a       e f he eade          f he     ga    a        Ma     U COVID Ca           ag .

   Additionally, I sit on the Iowa Board of Directors for the National Alliance on Mental Illness

   (NAMI) and delivered a statewide talk for NAMI in May 2020 on the impact of the novel

   coronavirus SARS-CoV-2 (he e af e , COVID-19 ) on mental health.

5. In March 2020, I co-founded the COVID-19 Health Animation Project (CHAP), to help

   address the racialized disparities in COVID-19 mortality and morbidity in the US. CHAP

   creates culturally-informed health messaging videos in various languages to deliver COVID-

   19 public health education to marginalized communities. I recently co-lead a CHAP team that

   collaborated with child psychologists and mental health professionals to focus on educating

   caregivers on the anxiety/stress facing children during the COVID-19 pandemic and how these

   issues can be effectively addressed. CHAP received a grant to pursue this project from the

   Atlantic Institute based at the Rhodes Trust in the University of Oxford and we have been

   a ed b UNICEF           a    a e CHAP        e a hea h        de      S a    h     UNICEF ha he

   opportunity to distribute both the English and Spanish version in the Americas.

6. I have given presentations on and authored or co-authored numerous medical and scientific

   publications and policy papers on infectious diseases and public health, as well as specifically

   on COVID-19 and its effects on rural areas and communities at-large.

7. My detailed curriculum vitae is attached as Exhibit A.

8. If called as a witness, I could and would testify competently to the matters set forth below.

9. I am familiar with the provision of Iowa Law recently passed that is known as HF 847 or the

    Ma     Ma da e Ba . In my expert opinion, this provision will hurt the children of this state

   and their families by denying schools the ability to fashion policies for their districts that attend

   to the health needs of their students. If students face the prospect of going to school in areas of




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    substantial or high risk of COVID-19 transmission, with no requirements of masks, they are

    forced either to attend school at risk to their health and that of their families or to stay out of

    school, at risk to their well-being. I am especially concerned for those students with disabilities

    that are at an increased risk for complications from COVID-19.

10. I am not being compensated for my time reviewing materials and preparing this report.


            Increased COVID-19 Transmission and Prevalence of the Delta Variant in Iowa

11. Vaccination rates across Iowa remain low, with only 52% of the population fully vaccinated.1

12. The rate is even lower among children; as of August 25, only 30% of those twelve to fifteen

    are vaccinated, and 37% of sixteen to seventeen year-olds.2

13. Iowa is seeing the most hospitalizations since January 2021.3

14. More than half of the new cases, 56%, are people younger than 40, and 17% are younger than

    seventeen. Those age groups also have the lowest vaccination rates.4 Data released August 31

    shows 22% of new cases in Iowa last week, after one week of school for many, are in school-

    age children.5

15. Each infected individual will, on average, infect six to seven others.6 There is a median latency

    to a detectable viral load of four days with the Delta variant rather than six days with the variant




1 See How Vaccinations Are Going in Your County and State, N.Y. Times (Sept. 1, 2021 update),
https://www.nytimes.com/interactive/2020/us/covid-19-vaccine-doses.html (last visited Sept. 2, 2021).
2 Nick Coltrain, Iowa COVID hospitalizations highest since January, 25% increase since last week to nearly 500, Des Moines Reg.

(Aug. 26, 2021), https://www.desmoinesregister.com/story/news/health/2021/08/26/iowa-covid-19-hospitalization-
rate-positive-cases-surges-delta-variant/5541193001/ (last visited Sept. 2, 2021).
3 Id.
4 Id.
5 Tim Webber, Children make up nearly a quarter of new COVID-19 cases in Iowa, Des Moines Reg. (Sept. 1, 2021),

https://www.desmoinesregister.com/story/news/health/2021/09/01/covid-19-iowa-testing-data-shows-kids-make-up-
22-percent-cases/8167419002/.
6 Michaeleen Doucleff, The Delta Va ia I       a C agi a Chicke P . B I S ill Highl C agi , NPR (Aug. 11,
2021), https://www.npr.org/sections/goatsandsoda/2021/08/11/1026190062/covid-delta-variant-
transmissioncdc-chickenpox (last visited Sept. 2, 2021).

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    originally dominant in the US.7 This suggests very rapid dissemination and hyperlocal

    outbreaks.8

16. As of August 30, the data on rolling average hospitalizations shows approximately 633 total

    hospitalized with confirmed or suspected COVID-19 diagnosis, and this number remains on

    an upward trajectory.9

17. The COVID-19 Delta variant is estimated to account for 99.7% of COVID-19 infections in

    HHS Region 7, which includes Iowa, as of August 15.10 This is relevant to the overall COVID-

    19 transmission landscape given that the Centers for Disease Control and Prevention (CDC)

    estimates that the Delta variant is at least twice as transmissible as previous variants and that

    it could likely lead to more severe illness.11

                                       The Spread of COVID-19 in Children

18. The Iowa Department of Public Health (he e af e                       IDPH ) and IDPH medical director, Dr.

    Pedati, have tried to downplay the risk of COVID-19 transmission to children, stating that a

    paucity of early data equated to no transmission. However, now that we are seeing the

    emergence of significant data about children and COVID-19, there are some inherent truths

    that cannot be ignored: 1) children can contract COVID-19; 2) although the limited data

    demonstrate that children are less likely to die from COVID-19, they can still suffer long-term




7 Baisheng Li et al., Viral infection and transmission in a large well-traced outbreak caused by the Delta SARS-CoV-2 variant,
medRxiv (July 12, 2021), https://www.medrxiv.org/content/10.1101/2021.07.07.21260122v1 (last visited Sept. 2, 2021).
8 Kathy Katella, 5 Things to Know About the Delta Variant, Yale Medicine (Aug. 26, 2021),

https://www.yalemedicine.org/news/5-things-to-know-delta-variant-covid (last visited Sept. 2, 2021).
9
  Iowa Hospitals and COVID-19, Iowa COVID-19 Tracker, https://iowacovid19tracker.org/hospitals/ (last visited Sept.
2, 2021).
10 COVID Data Tracker: Variant Proportions, Ctrs. for Disease Control & Prevention (Aug. 28, 2021 update),

https://covid.cdc.gov/covid-data-tracker/#variant-proportions (last visited Sept. 2, 2021).
11 Delta Variant: What We Know About the Science, Ctrs. for Disease Control & Prevention (May 7, 2021 update),

https://www.cdc.gov/coronavirus/2019-ncov/variants/delta-variant.html.


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     and even permanent damage from infection; and 3) children transmit the infection to other

     children and adults.

19. Children of all ages are fully capable of contracting COVID-19. Per a recent report by the

     A e ca Acade             f Ped a c (he e af e , AAP ), as of August 26, 2021, more than 4.8

     million children have been diagnosed with COVID-19, representing 14.8% of all cases in the

     US.12 Between August 19-26, 2021, 203,962 children were diagnosed with COVID-19,

     representing 22.4% of all new cases.13 And this is prior to school starting in most places, which

     will hasten the spread in this vulnerable age group.

20. A Ce e       f    D ea e C           a dPe e            (he e af e , CDC ) ca e            d a a       ed he

     infection attack rate in a weeklong sleep-away camp during June 2020 in Georgia.14 The CDC

     found that of the 597 people attending the camp, 260 contracted COVID-19.15 The highest

     rate of infection among the campers was amongst the youngest children between six to ten

     years of age (51% attack rate in this group as compared to 33% in campers of ages eighteen to

     twenty one).16 These findings demonstrate that transmission among children is happening at

     significantly high rates. This may be behaviorally-based, which is a critical factor in the spread

     of COVID-19.

21. Children infected with COVID-19 are fully capable of transmitting the virus to others. A study

       b hed         he J     a   f he A e ca Med ca A               ca       (he e af e , JAMA )            J

     30, 2020, studied the contagiousness of children by estimating the amount of nasopharyngeal


12 Children and COVID-19: State Data Report: Version: 8/26/21, Am. Acad. Pediatrics (Aug. 26, 2021 update),
https://www.aap.org/en/pages/2019-novel-coronavirus-covid-19-infections/children-and-covid-19-state-level-data-
report/ (last visited Sept. 2, 2021).
13 Id.
14 Christine M. Szablewski et al., SARS-CoV-2 Transmission and Infection Among Attendees of an

Overnight Camp      Georgia, June 2020, Morbidity & Mortality Weekly Rep. (Aug. 7, 2020),
https://www.cdc.gov/mmwr/volumes/69/wr/pdfs/mm6931e1-H.pdf.
15 Id.
16 Id.




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     viral shedding occurring at various age groups.17 They found that children younger than five

     years of age with mild to moderate symptoms of COVID-19 carry higher amounts of SARS-

     CoV-2 viral material in the nasopharynx than adults, suggesting that they may be more

     contagious and, thus, more effective at transmitting the virus than adults. 18 Children between

     the ages of five and seventeen years appeared to have a similar amount of viral material as

     adults (here classified as eighteen years of age or older).19

22. Long COVID (post-acute sequelae of COVID-19,                               PASC ) can manifest as chronically

     disabling fatigue, headache, difficulty concentrating, insomnia and other multisystemic

     symptoms following even mild COVID infection (image below illustrates potential

     manifestations of long COVID).20 Moreover, a Nature study published in April 2021

     demonstrated that COVID-19 survivors had a 60% increased risk of death in the six months

     following illness than the general population.21 Hospitalized survivors had a 50% increased

     risk of death in the six months following recovery as compared to influenza survivors.

     Figure 1: Long-Lasting COVID-19 Impacts22




17 Taylor Heald-Sargent, William J. Muller, & Xiaotian Zheng, Age-Related Differences in Nasopharyngeal Severe Acute
Respiratory Syndrome Coronavirus 2 (SARS-CoV-2) Levels in Patients With Mild to Moderate Coronavirus Disease 2019 (COVID-
19), JAMA Pediatrics (July 30, 2020), https://jamanetwork.com/journals/jamapediatrics/fullarticle/2768952 (last visited
Sept. 2, 2021).
18 Id.
19 Id.
20 Julia Evangelou Strait, Among COVID-19 survivors, an increased risk of death, serious illness, Wash. Univ. in St. Louis (Apr.

22, 2021), https://source.wustl.edu/2021/04/among-covid-19-survivors-an-increased-risk-of-death-serious-illness/ (last
visited Sept. 2, 2021).
21 Ziyad Al-Aly, Yan Xie & Benjamin Bowe, High-dimensional characterization of post-acute sequelae of COVID-19, Nature (Apr.

22, 2021), https://www.nature.com/articles/s41586-021-03553-9 (last visited Sept. 2, 2021).
22 Strait, supra note 21.




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23. In the meantime, masks matter. Converging experimental, epidemiological, and modeling

     evidence consistent with the efficacy of masks in mitigating COVID transmission23 stand

     diametrically opposed to the ban on mask mandates at a time when we desperately need to

     ensure compliance with masking, social distancing, and vaccinations.

24. The Washington Post adapted the graphic below from a CDC-funded study demonstrating the

     impact of different mitigation strategies on spread of COVID within schools.24 Elementary

     schools where students are still ineligible for vaccination are the most vulnerable. And in such

     schools, when universal masking and regular testing/randomized screenings are not being

     implemented (as is occurring in Iowa), 91% of students will likely be infected within the first

     3 months. Even with schools where immunity via vaccines is more prevalent (middle and high

     schools), there is still a significant risk when mitigation is not appropriately used. Ultimately,




23 Howard et. al., An evidence review of face masks against COVID-19, 118 PNAS 1, 1-12 (2021); Cheng, et al., Face masks
effectively limit the probability of SARS-CoV-2 transmission, 372 Science 1439, 1439-1443 (2021).
24 Ariana Eunjung Cha, A Calif. elementary school teacher took off her mask for a read-aloud. Within days, half her class was positive for

delta., Wash. Post (Aug. 28, 2021), https://www.washingtonpost.com/health/2021/08/28/delta-variant-unvaccinated-
children-elementary-schools/.


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     the study shows a harrowing prediction that 75% of all students (elementary through high

     school) will likely be infected within 3 months without appropriate mitigation.25

Figure 2: Student Susceptibility26




25. Children are not the only ones at risk of infection with in-person learning. The educators,

     custodians, bus drivers, and all school staff are at significant risk of illness. Moreover, while

     children may be asymptomatic or pauci-symptomatic from infection, they can still transmit to

     others, including bringing the virus home to vulnerable caregivers and family members. From




25 These numbers, highlighted by the Washington Post, were derived from an academic study. See Yiwei Zhang et al.,
COVID-19 Projections for K12 Schools in Fall 2021: Significant Transmission without Interventions, medRxiv (Aug. 11, 2021),
https://www.medrxiv.org/content/10.1101/2021.08.10.21261726v1.full.
26 Cha, supra note 26.




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     March 1, 2020 to April 30, 2021 (prior to the onset of the more virulent delta variant), more

     than 1.5 million children lost a caregiver to COVID-19 globally.27

26. Although many schools in Iowa have only been in session for one week, COVID-19 activity

     in schools is already rampant (47 different schools documented as of August 31, 2021),

     numbers that will likely significantly worsen given inadequate notification of exposures and

     the lack of quarantine for those exposed.28

Conditions That Can Put Children at Greater Risk of Severe Illness from COVID-19

27. The CDC has suggested higher risk for COVID complications in children who are medically

     complex, have genetic, neurologic, or metabolic conditions, congenital heart disease or, like in

     adults, chronic obesity, diabetes, asthma or chronic lung disease, sickle cell disease, and

     immunosuppression.29 I have reviewed the declarations of the plaintiffs in this case including

     their ages and diagnoses. All qualify as higher risk per the CDC. Any child who is medically

     complex (i.e. M.P., S.P., S.V., P.D., E.M.S, V.M.H., N.R.), has Down Syndrome (i.e. A.S.,

     E.C.), has moderate to severe asthma (i.e. C.B, K.G., J.J.B.), as well as any child with chronic

     heart or lung disease (i.e. M.P., H.J.F.R., V.M.H.) is vulnerable to poorer clinical outcomes

     with COVID.

28. The American Academy of Pediatrics strongly recommends in-person learning for the mental,

     emotional, and physical health of children, but emphasizes the critical importance of universal




27 Susan D. Hills et al., Global minimum estimates of children affected by COVID-19-associated orphanhood and deaths of caregivers: a
modelling study, Lancet (July 20, 2021), https://www.thelancet.com/journals/lancet/article/PIIS0140-6736(21)01253-
8/fulltext (last visited Sept. 2, 2021).
28 COVID-19 in Our Schools, Iowa COVID-19 Tracker, https://iowacovid19tracker.org/covid-19-in-our-schools/ (last

visited Sept. 2, 2021).
29 People with Certain Medical Conditions, Ctrs. for Disease Control & Prevention (Aug. 20, 2021 update),

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-conditions.html (last visited
Sept. 2, 2021).


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     masking (in children > two years) regardless of vaccination status.30 These are children who

     have need for in-person instruction. And in many school districts, even nominally equivalent

     educational services are not available through remote learning. The failure to allow local

     entities to implement universal masking policies will have disproportionate impact on these

     students.

     Public Health Guidance on Masking to Reduce COVID-19 Transmission in Schools

29. Ways to mitigate the spread of COVID-19 in schools includes i) universal masking; ii) spacing

     of three feet with masking or at least 6 feet without masking; iii) testing with isolation and

     quarantine for positive and exposed individuals, respectively; and iv) maximizing proper

     ventilation of enclosed spaces.

30. The Delta variant is highly transmissible, which makes masking even more important. In a

     recent study it was found that while vaccines are effective against the Delta variant, infection

     risk remains elevated among unvaccinated persons in schools. In addition to vaccination, strict

     adherence to multiple nonpharmaceutical prevention strategies, including masking, are

     important to ensure safe school instruction.

31. From May 23 to June 12, 2021, 26 laboratory-confirmed COVID-19 cases occurred among

     Marin County, California, elementary school students and their contacts following exposure to

     an unvaccinated infected teacher. There was a 50% infection rate in an elementary classroom

     where all were masked except for the infected teacher who removed her mask for only a short

     period of time each day.31 This study demonstrates that the mask is most valuable in preventing



30 American Academy of Pediatrics Updates Recommendations for Opening Schools in Fall 2021, Am. Acad. Pediatrics (July 19,
2021), https://www.aap.org/en/news-room/news-releases/aap/2021/american-academy-of-pediatrics-updates-
recommendations-for-opening-schools-in-fall-2021/.
31 Tracy Lam-Hine et al., Outbreak Associated with SARS-CoV-2 B.1.617.2 (Delta) Variant in an

Elementary School   Marin County, California, May June 2021, Morbidity & Mortality Weekly Rep. (Sept. 3, 2021),
https://www.cdc.gov/mmwr/volumes/70/wr/pdfs/mm7035e2-H.pdf.


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     spread when the infected individual is wearing a mask. It also emphasizes the importance of

     universal masking in those who are medically able in order to prevent spread to vulnerable

     students and staff. Additionally, this case study shows that rapid spread within a school and to

     pediatric populations is possible, especially with the increased infectiousness of the delta

     variant.

32. The American Medical Association, American Academy of Pediatrics, Infectious Disease

     Society of America, American Academy of Family Physicians, and CDC all strongly endorse

     return to in-person learning only in the setting of appropriate public health mitigation,

     including universal masking.32 The CDC specifically states that there are no known adverse

     effects from mask use.33


                The Importance of Allowing Schools to Set Their Own Mask Policies

33. With significant inter-county differences in cases, test positivity, vaccinations, and health

     resources, local authorities, including school districts, should be able to decide, based on the

     dynamics of this pandemic, how to move on implementing mask mandates and other public

     health policies to help prevent, contain, and mitigate this disease. While it is generally true that

     the entire state of Iowa is facing a COVID surge, to illustrate the variation in impact over a

     single snapshot in time, observe that in Polk County, there are currently 1,427 cases per

     100,000, in Linn County, 699 per 100,000 cases, and in Black Hawk County, 353 per 100,000

     cases.34



32 See, e.g., American Academy of Pediatrics Updates Recommendations for Opening Schools in Fall 2021, Am. Acad. Pediatrics (July
19, 2021), https://www.aap.org/en/news-room/news-releases/aap/2021/american-academy-of-pediatrics-updates-
recommendations-for-opening-schools-in-fall-2021/.
33 Use of Cloth Masks to Control the Spread of SARS-CoV-2, Ctrs. for Disease Control & Prevention (May 7, 2021),

https://www.cdc.gov/coronavirus/2019-ncov/science/science-briefs/masking-science-sars-cov2.html.
34 COVID-19 Integrated County View, Ctrs. for Disease Control & Prevention (Sept. 2, 2021 update),

https://covid.cdc.gov/covid-data-tracker/#county-view (last visited Sept. 2, 2021).


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34. Local districts and the boards which serve them need to be able to take action to protect their

   students and staff, including implementation of mask requirements.


   I swear under the penalty of perjury under the laws of the United States that the foregoing is

true and correct to the best of my knowledge.

       Dated this __3rd_ day of September 2021, at _, Iowa.




                                                     ______________________________
                                                     Megan L. Srinivas, MD MPH




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                                                    MEGAN L. SRINIVAS, MD MPH
                                                mls329@mail.harvard.edu; Ph. (515)269-9118

                                                         EDUCATION/TRAINING
UNIVERSITY OF NORTH CAROLINA SCHOOL OF MEDICINE Infectious diseases physician/clinical instructor and NC TraCS
translational health policy research fellow. Completed clinical ID fellowship June 2019. Recipient of NIH T32 grant for STIs/HIV 2019-
2020 and NCATS Translational TL1 grant for 2020-2021. 2020 Atlantic Fellow for Health Equity. 2018 New Leaders Council Fellow.
Recipient of two 2020 Atlantic Philanthropies Solidary Grant. Asian Pacific American Institute for Congressional Studies (APAICS)
2018 National Leadership Academy. Recipient of Asian and Latino Coalition 2019 Leadership Award. 2020 Girl Scouts of Iowa Inspiring
Women of the Year Award. InStyle Magazine s Bad Ass Women 2020 Award (featured in August 2020 issue). 2021 Emerge Iowa
DAWN Activist Award. 2021 Business Record 40 Under 40 in Iowa Award. 2021 National Minority Quality Forum 40 under 40 Health
Leaders in the United States. June 2017 ongoing.

JOHNS HOPKINS SCHOOL OF MEDICINE Johns Hopkins Bayview Medical Center Internal Medicine Residency Program.
American College of Physicians 2015 National Poster Winner. Tel Aviv University Advanced Epidemiology 2015 Summer Fellow.
President of Maryland American Medical Association (AMA) Resident/Fellow Section. National resident/fellow delegate to the AMA.
Paul Lietman Global Health Fellowship 2016 recipient. Caucus Fellow for Hillary Clinton 2016 campaign. National Delegate to 2016
Democratic National Convention. June 2014 June 2017.

HARVARD UNIVERSITY SCHOOL OF PUBLIC HEALTH Class of 2014 MPH global health. Student government MPH rep.
Student rep to Committee on Admissions and Degrees. David Rockefeller Center for Latin American Studies research grant winner.

UNIVERSITY OF IOWA COLLEGE OF MEDICINE Class of 2014 MD. Teaching Distinction track. 2010 Minority Health and
Disparities International Research Training Fellowship winner. Barry Goldman Fellowship recipient.

HARVARD UNIVERSITY Class of 2009 AB cum laude Human Evolutionary Bio. 3 minors: Global Health Policy, Spanish, Latin
American Studies. Thomas T. Hoopes Prize for Excellence in Undergraduate Work (top undergraduate student award at Harvard), David
Rockefeller Center for Latin American Studies Grant, David Roux Fund award, Goelet Fund award, Alex G. Booth award, Harvard Intl
Innovation Grant, Americorps Student Leader in Service scholarship, Justine Magazine Women s 2006 Role Model award.

FORT DODGE SENIOR HIGH 2005 Valedictorian. USA Today 1st All-Academic Team, Coca-Cola National Scholar, National
Toyota Community Scholar, National Merit Scholar, World Food Prize Foundation John Chrystal International Intern Award, Sports
Illustrated Magazine s All-American Teen Award, President Hoover Uncommon Student Award, National Junior Science and Humanities
Symposium Winner, Intel International Science and Engineering Fair Prize Winner, 4-year Varsity Letter-Winner and Captain of tennis
team, 3-year National Congressional Debate Finalist and Captain of Speech and Debate team.


                                       BOARD CERTIFICATION/MEDICAL LICENSURE
AMERICAN BOARD OF INTERNAL MEDICINE INFECTIOUS DISEASE BOARD CERTIFICATION - December 2019
AMERICAN BOARD OF INTERNAL MEDICINE BOARD CERTIFICATION - October 2017
NATIONAL BOARD OF MEDICAL EXAMINERS - May 2016
State Licensures: Iowa, North Carolina


                                                  WORK AND RESEARCH EXPERIENCE
AMERICAN MEDICAL ASSOCIATION (AMA)/CENTER FOR DISEASE CONTROL AND PREVENTION (CDC)                                                       Remote
Project First Line Podcast Host. Podcast focused on the intersection of infection prevention and control and health equity titled, Stories of
Care with Dr. Srinivas. Launching in fall 2021. June 2021 ongoing.

COVID HEALTH ANIMATION PROJECT (CHAP)                                                                                                 Virtual
Co-founder and health expert for collaborative effort that produces culturally-informed health messaging on COVID to help address racialized
disparities. Designed and created videos to improve COVID Vaccine clinical trial recruitment for Novavax trials at UNC. Funded by two
separate 2020 Atlantic Philanthropies Solidarity Grants. (https://www.cfrontiers.co/chap). March 2020 ongoing.

UNIVERSITY OF NORTH CAROLINA INSTITUTE OF GLOBAL HEALTH AND INFECTIOUS DISEASE                                           Chapel Hill, NC, USA
Infectious diseases physician/clinical instructor. NC prison system HIV & general infectious disease telehealth provider. Inpatient infectious
disease physician. Translational health policy researcher. July 2019 ongoing

WORLD HEALTH ORGANIZATION SEXUAL & REPRODUCTIVE HEALTH RESEARCH                                                   Virtual & Nairobi, Kenya
Co-organizer/researcher. Co-led a WHO project using social innovation/crowdsourcing to create a harmonized global instrument for sexual
health research in HICs and LMICs. Aug 2019 ongoing.



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PROJECT ECHO IOWA                                                                                                           Des Moines, IA, USA
Infectious Disease Physician Expert. Project ECHO uses telehealth to extend clinical reach to underserved & rural communities. Working to
increase diagnosis & linkage to care for Hepatitis C in rural areas where specialist care is not available. March 2019-ongoing.

MEDICAID/TITLE X STI RESEARCH                                                                                              Chapel Hill, NC, USA
Principal Investigator. Investigating reproductive health restrictions in Medicaid and Title X funding and their impact on creation of health care
deserts and STI rates. Received 2019-2021 NIH T32 grant and 2020-2021 NIH TL1 grant to fund research. December 2018 ongoing.

FORT DODGE COMMUNITY HEALTH CENTER                                                                                      Fort Dodge, IA, USA
Infectious Disease and Internal Medicine Physician. Employed by rural federally-qualified health center as both the only infectious diseases
and internal medicine physician. January 2018-July 2020.

INDIAN MINISTRY OF HEALTH HIV/AIDS RESEARCH                                                                             Bangalore, India
Researcher and PI. Funded by Barry Goldman Fellowship. Mapped HIV incidence in the state of Karnataka over a 6-year period. January
2014 June 2014.

BRAZILIAN MINISTRY OF HEALTH HIV/AIDS RESEARCH                                                                          Fortaleza, Brazil
Research Collaborator. Collaboration between Harvard research team and Brazilian government officials. Funded by Harvard s David
Rockefeller Center for Latin American Studies grant. Worked with govt officials and NGOs to assess level of stigma and discrimination against
HIV/AIDS in healthcare workers and its effects on HIV testing. Jan 2013 May 2013.

HONDURAS PARASITOLOGY RESEARCH                                                                Tegucigalpa, Honduras and Iowa City, IA, USA
Researcher. Member of National Dengue Taskforce during summer 2010 outbreak. Analyzed clinical presentation of leishmaniasis in relation
to species. Health educator training on dengue/malaria prevention, diagnosis, treatment. May Aug 2010.

MALARIA POLICY RESEARCH                                                                        Amazon Basin, Peru and Cambridge, MA, USA
Principal Investigator. Harvard s 2009 Thomas Temple Hoopes Prize winner. Analyzed factors contributing to the evolution of drug resistance
in malaria parasites in Peru. Crafted health policy recommendations adopted by Peruvian govt. May 2007 May 2009.

INDIAN INSTITUTE OF SCIENCE                                                                                               Bangalore, India
Research Fellow. Mathematical modeling to generate estimate of effective HIV population in an individual. June - Aug 2007

WEIZMANN INSTITUTE OF SCIENCE                                                                                                 Rehovot, Israel
Researcher. Investigated conformational changes in glycoproteins-41 and -120 & their role in HIV virulence. June - July 2005.

NATIONAL ANIMAL DISEASE CENTER, US DEPT. OF AGRICULTURE                                                                     Ames, IA, USA
Research Fellow. Developed novel diagnostic approach to detect the transmissible spongiform encephalopathic prion (causal agent of Mad Cow
Disease and its counterparts in other species) content in paraffin-embedded tissues. June 2004-June 2005.

INTERNATIONAL CENTER OF INSECT PHYSIOLOGY AND ECOLOGY                                                                       Mbita, Kenya
Research Intern. World Food Prize Foundation intern; John Chrystal Award winner for outstanding work on hunger issues. Analyzed the role
of education on house-hold food security in rural Africa. June-August 2003.


                                                 LEADERSHIP AND PUBLIC SERVICE
IO A S BIDEN CO ID RESPONSE COUNCIL                                                                               August-November 2020
Chair. Worked with President Biden s Iowa campaign team to chair this group on their COVID response. Traveled Iowa representing the group
and discussing the issues surrounding COVID and the policies needed to address the pandemic.

COVID PUBLIC HEALTH EDUCATION                                                                                                 March 2020-ongoing
Educating the public on safety measures & latest research during the pandemic. Using social media (Twitter, Instagram, and Facebook) and
traditional media (television, radio, and newspaper). Invited speaker for local, national, and international panels and media.

ATLANTIC FELLOW FOR HEALTH EQUITY                                                                                             January 2020-ongoing
Selected as part of 2020 cohort for the Atlantic Institute s health equity fellowship based at George Washington University in the US. Program
selects 20 fellows internationally each year to learn about leadership in the health equity sphere and collaborate on projects addressing disparities.

INFECTIOUS DISEASE SOCIETY OF AMERICA (IDSA) PUBLIC HEALTH ADVISORY BOARD                                                  October 2019-ongoing
IDSA represents all infectious disease providers in the nation. Selected to sit on the IDSA s public health board, which makes public health
policy decisions for the organization and advocates directly with policymakers.

IO A SUPREME COURT S ACCESS TO JUSTICE COMMISSION                                                                  September 2019-ongoing
Appointed to the commission by the Iowa Supreme Court. Addressing the social determinants of justice and improving access to the legal system
for vulnerable populations. Serving on the Rural Access Committee and on the Executive Board.

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AMERICAN MEDICAL ASSOCIATION                                                                                      September 2009 ongoing
RFS Councilor to AMA Council on Medical Service & National Delegate to AMA House of Delegates
Elected by residents/fellow membership as a national delegate, helping craft AMA policies on US healthcare. Elected as the resident/fellow
member on the 12-person national Council on Medical Service, which focuses on the social & economic policies impacting medicine.

AMERICAN COLLEGE OF PHYSICIANS                                                                                          December 2014      ongoing
Former resident physician rep on Maryland Health Policy Committee and current physician member.

NATIONAL ALLIANCE ON MENTAL ILLNESS (NAMI) IOWA BOARD OF DIRECTORS                                                  February 2019-ongoing
Board member of Iowa branch of NAMI, a non-profit that centers on mental illness. We work to fight stigma about mental health, educate the
public on illness, and advocate for resources/access to treatment for patients and families.

ASIAN AND LATINO COALITION BOARD OF DIRECTORS                                                                           January 2019- January 2020
Board member of this Iowa organization focused on advocating for diversity and inclusion in the state.

2018 DEMOCRATIC NOMINEE FOR IOWA STATE HOUSE OF REPRESENTATIVES DISTRICT 9                                          January-November 2018
Received multiple state and national endorsements. One of the highest non-incumbent fundraisers in the state. Won democratic primary June 5,
2018. Lost general election by 384 votes.

2018 NEW LEADERS COUNCIL (NLC) FELLOWSHIP                                                                                        January -May 2018
Selected as a fellow for the NLC, which focuses on creating a pipeline of progressive leaders for the future in both the political arena and in local
communities. Undergoing trainings to develop these skills and connect with local, state, and national policy leaders.

2016 WORLD FOOD PRIZE SYMPOSIUM                                                                                         October 14, 2016
Featured speaker at the 2016 Laureate Ceremony alongside former President of Malawi Joyce Banda, President Ameen Gurib-Fakim of
Mauritius, US Secretary of Agriculture Thomas Vilsack, and Iowa Governor Terry Bransted.

2016 DEMOCRATIC NATIONAL CONVENTION                                                                                        February July 2016
Elected by the constituents of Iowa s 4th Congressional District as National Delegate to the 2016 DNC in Philadelphia, PA in July 2016.

2016 IOWA CAUCUS FELLOW FOR SECRETARY HILLARY CLINTON                                                                 January February 2016
Grassroots organizer in Iowa. Organized events w/ Sec Clinton, President Clinton, Rep Giffords, Cecile Richards, & other celebrity supporters.

HARVARD 5th REUNION, CLASS OF 2009                                                                                     August 2013-June 2014
Co-Chair                                                                                               Harvard University, Boston, MA, USA
Selected by committee of peers to co-organize & host 5th reunion. Highest 5th year reunion attendance & fundraising in Harvard s history.

HARVARD SCHOOL OF PUBLIC HEALTH STUDENT GOVERNMENT                                                           September 2012 June 2013
MPH Co-Representative, Student Representative to the Admissions Committee                          Harvard University, Boston, MA, USA
Elected by peers. Worked on curriculum & admissions criteria reform, student advocacy issues. Member of admissions deliberations.

UNIVERSITY OF IOWA COLLEGE OF MEDICINE STUDENT GOVERNMENT                                                                  May 2010-May 2012
Executive Council for Grad/Professional Students; Activities Committee Chair; Diversity Committee                          Iowa City, IA, USA
Elected by peers. Helped to address diversity and cultural competency issues via hosting events and helping with curriculum changes.

AMERICORPS STUDENT LEADERS IN SERVICE                                                                                 October 2007-June 2008
Student Leader                                                                                    Harvard University, Cambridge, MA, USA
Underwent special trainings with select group of other Harvard campus leaders in public service. Public service scholarship recipient.

PEER HEALTH EXCHANGE                                                                                                     Boston, MA, USA
Co-Coordinator and Co-Founder on the Harvard Campus; Health Educator                                                March 2006-June 2009
Co-founded organization s branch at Harvard and Boston. Trained 50 college students to teach comprehensive health curriculum in
socioeconomically disadvantaged high schools in Boston. Reached >600 students annually between 2006-2009.

HARVARD MODEL CONGRESS                                                                                                September 2005-June 2009
Executive Board Member                                             Boston, MA and San Francisco, CA, USA; Athens, Greece; Bangkok, Thailand
Organized and presided over committees at four annual conferences for high school students from around the world. Taught students about
domestic and international political and judicial processes via government simulations and direct mentoring in high schools.

HARVARD UNDERGRADUATE COUNCIL                                                                              September 2005 September 2006
Student Representative                                                                           Harvard University, Cambridge, MA, USA
Elected by peers to the Harvard student government. Worked jointly with Dean s office for curricular reform and student advocacy.




                                                                                                                                   Srinivas Page 3
                                                         PLAINTIFFS' APPENDIX 054
                  Case 4:21-cv-00264-RP-HCA Document 3-2 Filed 09/03/21 Page 16 of 16
IOWA STATE BOARD OF EDUCATION                                                                                         May 2003-May 2005
Board Member                                                                                                        Des Moines, IA, USA
Selected and appointed by former Governor Tom Vilsack as first student member on the board. Re-appointed for second term. Responsible for
reflecting student opinion and making decisions regarding the education laws and policies throughout the state.


                                   SELECTED PUBLICATIONS/POLICY PAPERS (*denotes first authors)

    1.    *Srinivas ML, Shim H, Jones DL, et al (2021). The importance of data accuracy and transparency for policy-making during a public
          health crisis: a case study in the state of Iowa. Accepted to IDWeek, October 2021, with publication in OFID.
    2.    *Srinivas ML, Yang EJ, Lin FC, Tang W, Tucker JD (2021). Impact of Defunding Family Planning Health Centers on Gonorrhea and
          Chlamydia Cases in Iowa: A Longitudinal Spatiotemporal Analysis of 2000 to 2018. Oral Presentation at IUSTI s STI & HIV World
          Congress 2021, Virtual and Berlin, Germany, Jul 2021.
    3.    Gonsalves L, Hunter EC, Tucker JD, Srinivas ML, Giatu E, Mercer CH, Bajos N, Collins D (2021). Cognitive Testing of a Survey
          Instrument to Assess Sexual Practices, Behaviours,, and Health Outcomes: a Multi-country Study Protocol. Reproductive Health. In
          press.
    4.    *Grijalva R, *Makhlouf MD, *Srinivas, ML, *Lopez G. An equitable distribution of COVID-19 vaccine must include noncitizens.
          The Hill, 26 Jan 2021. https://thehill.com/blogs/congress-blog/healthcare/535901-an-equitable-distribution-of-covid-19-vaccine-must-
          include
    5.    *Srinivas ML, *Ritchwood TD et al. (2021). Social innovation in sexual health: a scoping review to end the HIV epidemic. Sexual
          Health. 2021 Mar; 18(1):5-12. doi: 10.1071/SH20030
    6.    *Kpokiri EE, *Wu D, *Srinivas ML, et al. (2021). Development of an international sexual and reproductive health survey instrument:
          results from a pilot WHO/HRP consultative Delphi process. Sexually Transmitted Infections. In press.
    7.    *Srinivas ML, Yang EJ, et al. (2020) Impact of defunding family planning health centers on sexually transmitted infection rates.
          Presented at IDWeek, Oct. 2020, Philadelphia, PA, USA.
    8.    *Srinivas, Megan L. We Don't Have the Data We Need to Reopen Iowa. Des Moines Register, 30 Apr. 2020,
          www.desmoinesregister.com/story/opinion/columnists/iowa-view/2020/04/30/infectious-disease-doctor-we-do-not-have-enough-data-
          reopen-iowa/3048415001/.
    9.    *Srinivas, Megan L. Rural America Is Not Ready for COVID-19. Des Moines Register, 2020,
          www.desmoinesregister.com/story/opinion/columnists/2020/04/07/rural-america-not-ready-covid-19/2952724001/.
    10.   *Srinivas, ML et al.. (2020) Social innovation in diagnostics: three case studies. Infectious Diseases of Poverty. 9(1):20. doi:
          10.1186/s40249-020-0633-6.
    11.   *Lachiewicz AM and Srinivas, ML. (2019) Varicella-zoster virus post-exposure management and prophylaxis: A review. Preventive
          Medicine Reports. doi: 10.1016/j.pmedr.2019.101016.
    12.   *DeFelice, DS, Srinivas, ML, Wobker, SE, and Parr, JB. (2018) Going bone deep: osseous Rosai-Dorfman Disease in an adult with
          recurrent, culture-negative osteomyelitis. Case Reports in Infectious Diseases, vol 2018. doi: 10.1155/2018/6151738
    13.    Gun Violence as a Public Health Crisis. (2016) co-wrote and co-lead the effort to pass the resolution establishing the AMA policy
          on gun violence in June 2016.
    14.   *Srinivas, Megan L. (2015): Mycophenolate-Induced Disseminated TB in a PPD-Negative Patient. American College of Physicians
          2015 National Meeting Poster Competition, Boston, MA, USA. 1st place winning poster in National Competition.
    15.   *Srinivas, Megan L. (2009): E                 a d Ma a a: A Ba e f S       a     Thomas T. Hoopes award-winning thesis on evolution
          of drug-resistance in malaria. Bound and available in the Harvard University library system.
    16.   *Kunkle, RA.,Nicholson, EM, Lebepe-Mazur, S, Orcutt, DL, Srinivas, ML, et al., (2008): Western-blot Detection of PrPSc in
          Archived Paraffin-Embedded Brainstem from Scrapie-affected Sheep. Journal of Veterinary Diagnostics. 20(4): pp. 522-526.
    17.   *Srinivas, Megan L., (2007): Development and Standardization of a Novel Approach to Detect the Transmissible Spongiform
          Encephalopathic Prion Content in Paraffin-Embedded Tissues, Proceedings of the 25th National Army Science Conference.
    18.   *Bussey, M., *Klapper, J., and *Srinivas, M., (2005): Isolation, Purification, and Identification of the Structure of the TrpST42
          Peptide Chain of gp41 in HIV-1, Sci Reports, 37th Intl Summer Sci Inst, Weizmann Inst Science, Rehovot, Israel. pp B11:1 6.
    19.   *Srinivas M.L. (2003): A a             f e I f e ce f Ed ca         H e d F d Sec                R a Af ca        John Chrystal Award-
          winning thesis on research conducted while at the International Center of Insect Physiology and Ecology, Kenya.
          http://www.worldfoodprize.org/Youthinstitute/03brinterns/papers/srinivas.pdf




                                                                                                                               Srinivas Page 4
                                                       PLAINTIFFS' APPENDIX 055
Exhibit F
  PLAINTIFFS' APPENDIX 056
Case 4:21-cv-00264-RP-SBJ Document 28-1 Filed 09/10/21 Page 1 of 1




                      PLAINTIFFS' APPENDIX 057
Exhibit G
  PLAINTIFFS' APPENDIX 058
HEALTH


Io a COVID ho pi ali a ion highe
 ince Jan a , 25% inc ea e ince la
  eek o nea l 500
         Nick Col ain
         Des Moines Register
P b   ed 1:05 . . CT A   . 26, 2021   U da d 4:52 . . CT A   . 26, 2021


The number of people hospitali ed ith COVID-19 in Io a rose 25% since last eek, to
nearl 500 people, according to Io a Department of Public Health data released late
Wednesda .

State data sho s 498 people ere hospitali ed ith COVID-19 on Aug. 25. Of them, 133
people ere in the intensive care unit. It's a steep increase from a summer lull that sa fe er
than 50 people hospitali ed ith COVID-19 t o months ago.

It's the most COVID-19 patients in Io a's hospitals since Januar , hen the state as on
a months-long decline after a November surge that threatened to over helm health care
facilities. The first time Io a neared 500 people simultaneousl hospitali ed ith COVID-
19 as Oct. 19 about a month before the November peak of 1,500 COVID-19 patients.

The current surge sho s no signs of aning. State data sho s an average of more than 1,000
ne COVID-19 cases dail over the last eek, another increase of 25% over the 814 average
dail ne cases the eek before.

Mo e: CDC recommends masks in all 99 counties as COVID-19, delta variant surge across
Io a

More than half of the ne cases, 56%, are people ounger than 40, and 17% are ounger than
17. Those age groups also have the lo est vaccination rates.

The update on COVID-19 in the state comes da s after the end of the Io a State Fair, and its
1 million attendees over 11 da s, and at the start of school throughout the state.

                                               PLAINTIFFS' APPENDIX 059
Dr. Ravi Vemuri, an infectious disease specialist at Merc One Des Moines Medical Center,
noted just under half of Io ans are full vaccinated. Scientific models sho each person
infected ith the delta variant can infect up to si or seven others more than double the
transmissibilit of the orld-changing original strain of coronavirus.

 The ne t 14 da s are going to be telling just ho much transmission happened (at the fair)
as people perhaps come do n ith infections," Vemuri said. "And then another seven to 10
da s after that, e ll see ho man of them end up in the hospital. So for the ne t 21 da s,
  e re kind of holding our breath and hoping for the best, and hopefull e on t surge
be ond hat e re alread surging no .


'A      ge of he n accina ed'
State ide, 79% of hospital patients ith a primar COVID-19 diagnosis are not vaccinated
against the disease, and it rises to 86% among ICU patients, according to the Io a
Department of Public Health.

That alone is proof the vaccines ork, Vemuri said. He called it a "surge of the
unvaccinated."

 Had e had a higher percentage of the population vaccinated than e had, e ma have
avoided this delta surge," Vemuri said. "Or even if e had one, it ould be amongst full
vaccinated individuals and e ouldn t have all the hospitali ations and all the e cess deaths
that e re seeing no ."

Nearl all of the so-called breakthrough cases of COVID-19 that required hospitali ation at
Merc One's Des Moines-area facilities involved people ith eak immune s stems, Vemuri
said. Breakthrough cases are hen a person becomes sick despite being full vaccinated.

Man of the breakthrough cases involve older people, Vemuri and Unit Point Health Nurse
Epidemiologist Carrie O'Brien said. That's because older people t picall have eaker
immune s stems that come ith age, and don't generall take to vaccines as ell as ounger
people.

Mo e: Des Moines' se age is carr ing t ice as much coronavirus as it did t o eeks ago,
tests sho

People 60 and older are also the most vaccinated age demographic in the state, meaning
there's a higher pool of people for breakthrough cases. Older Io ans ere targeted for the
                                     PLAINTIFFS' APPENDIX 060
fi       il bl d      f     i i D         b M             hi i  h i h       h    i d h
its efficac appears to be aning. Those initial efforts are credited ith subduing the inter
surge.

About half of all Io ans, 48.6%, are full vaccinated, though it varies b age demographic.
The state's vaccination rates b age are:

   30% of 12- to 15- ear-olds
   37% of 16- to 17- ear-olds
   39% of 18- to 19- ear-olds
   40% of 20- to 29- ear-olds
   49% of 30- to 39- ear-olds
   56% of 40- to 49- ear-olds
   62% of 50- to 59- ear-olds
   73% of 60- to 64- ear-olds
   82% of people 65 and older

The lo er vaccinations rates among ounger Io ans are ske ing patient demographics
 ounger, O'Brien said, especiall compared to earl in the pandemic, hen COVID-19 ripped
through Io a's elderl population.

At Unit Point, the average age of an unvaccinated patient is 52; the average age of a full
vaccinated patient is 72. About 74.2% of Unit Point's COVID-19 admissions over the past si
 eeks have been unvaccinated, she said.

"When e reall started off ith COVID, the vast majorit of the people seemed like the
 ere much more elderl that e ere having as hospitali ations," O'Brien said. "No , that s
not the case. We re seeing a much, much ounger population that is hospitali ed ith
COVID. And again, it s a lot of our unvaccinated population.


COVID accina ion                lo    again
The COVID-19 vaccines, hich are free and available ithout an appointment at man Io a
pharmacies, are effective at keeping people from catching the coronavirus and, if the do
catch it, keeping viral loads lo er, effectivel minimi ing its abilit to spread and keeping the
  orst s mptoms of COVID-19 at ba . In short, it gives a strong la er of protection against
COVID-19 to both the individual and the communit .

Getting vaccinated is all the more important ith in-person school starting, ith children
mingling indoors and man of themPLAINTIFFS'
                                     too oungAPPENDIX 061
                                              to be vaccinated O'Brien said Children under
12 aren't eligible to receive the vaccine.

Even though children don't generall endure severe cases of COVID-19 there are no
children currentl hospitali ed ith COVID-19, according to the state the can still spread
the virus that causes it, O'Brien said.

Mo e: Bubl , Ta lor, Incubus to require proof of COVID vaccination, negative test for Des
Moines concerts

The number of COVID-19 vaccinations administered in Io a also dropped off this eek after
a brief uptick earlier in the month. About 18,500 Io ans received their first dose of vaccine
over the prior eek, versus more than 22,000 the eek before and 21,500 the eek before
that.

In a ne s release, Io a Department of Public Health interim Director Kell Garcia urged
Io ans to get vaccinated, and noted that the Pfi er vaccine is no full approved b the Food
and Drug Administration.

 We have man tools e need to keep ourselves and our loved ones safe and the single most
important tool e have is the vaccine, hich is highl effective at preventing serious illness,
hospitali ation and death," Garcia said in a statement. "For an one ho as aiting for the
assurance of full FDA authori ation, I urge ou to schedule our appointment toda ."

In the release, the department credited the vaccination campaign ith keeping the state from
again seeing the same hospitali ation rates as in November, hen more than 1,500 people
  ith COVID-19 ere hospitali ed in Io a at the same time.

Nc C  a          a       c a    aa              R                . R ac
a c  a @                    a.c    a 515-284-8361.




                                      PLAINTIFFS' APPENDIX 062
Exhibit H
  PLAINTIFFS' APPENDIX 063
HEALTH


Child en make p nea l a q a e of ne
COVID-19 ca e in Io a
         Tim Webbe
         Des Moines Register
P b   ed 3:42 . . CT Se . 1, 2021   U da d 8:56 a. . CT S   . 2, 2021


Nearly a quarter of all new COVID-19 cases in Iowa are children, state data released
Wednesday shows.

Of the 8,308 new cases reported by the Iowa Department of Public Health, 22% were
kids a staggering rate considering historical trends. Typically, kids have made up just 12%
of new cases on average.

The sharp increase in pediatric cases comes as school resumes across the state.

Since the start of the school year, Des Moines Public Schools have reported 128 total COVID-
19 cases among staff and students, as of Wednesday. Students account for 82 of those cases.

The 8,308 new reported cases across the state average out to 1,187 per day during the past
week, the highest that number has been since mid-January.

After increasing through most of August, the rate of vaccine doses administered declined for
the second week in a row, even after the Pfi er vaccine won full FDA approval. The state
reported about 16,200 Iowans receiving the first dose of any vaccine in the past week, down
from about 18,500 in the week prior.

M     e:Amid COVID surge, Des Moines hospitals reimpose visitor restrictions

The state on Wednesday reported a total of 408,390 coronavirus cases in Iowa since the start
of the pandemic.

The state also reported 39 additional deaths from COVID-19 during the past week. There
have been 6,307 confirmed COVID-19 deaths in Iowa.


                                              PLAINTIFFS' APPENDIX 064
A total of 1,551,098 Iowans, or 49% of Iowa's population, were fully vaccinated as of
Wednesday, having received either both doses of a two-dose sequence or one dose of a
single-dose vaccine. Another 119,775 Iowans, or 4%, were partially vaccinated with the first
dose of a two-dose sequence.

Read       e     COVID-19 i I       a:

    Track the COVID-19 vaccine rollout in Iowa with these graphics
    80% of Iowa's COVID patients are unvaccinated, new data shows
    Top U.S. health leader urges Iowans to get COVID shots to protect everyone


The la e       COVID-19 n mbe                 in Io a
The latest data, as of 2 p.m. Wednesday, Sept. 1, compared to the previous Wednesday.

    Confirmed cases: 408,390, an increase of 8,308
    Deaths: 6,307, an increase of 39
    Total tested: 1,912,356
    Total recovered: 376,954
    Statewide 14-day positivity rate: 8.6%

M    e: COVID-19 hospitali ations in Iowa reach levels last seen in January


Ho     man Io an a e ho pi ali ed                       i h COVID-19?
    Hospitali ations: 524, up from 498 one week ago
    Patients in ICU: 143, up from 133
    Patients on ventilators: 66, up from 51


Ho     man people in Polk and Dalla co n ie a e accina ed?
In Polk County, 291,237 people, or 59% of residents, have received at least one dose of the
vaccine. 266,594 (54%) are fully vaccinated, an increase of 3,338 (0.7 percentage points)
since last week.

In Dallas County, 54,919 people, or 59% of residents, have received at least one dose; 50,746
(54%) are fully vaccinated, an increase of 615 (0.7 percentage points).

                                    PLAINTIFFS' APPENDIX 065
The five counties in Iowa with the highest percentage of their population fully vaccinated as
of Sept. 1 are Johnson (60%), Linn (56%), Boone (55%), Dubuque (54%) and Polk (54%)
counties.

For a county-by-county look at the vaccination rollout, see our COVID-19 vaccine tracker,
which is updated weekly.

M    e:Iowa paying $1.7 million to Utah company for new phase of Test Iowa




                                    PLAINTIFFS' APPENDIX 066
Exhibit I
 PLAINTIFFS' APPENDIX 067
                         POLITICS


Can Io a schools def the state's COVID
mask ban like Florida and Te as schools
are?
         Ian Richardson
         Des Moines Register
P b   ed 3:00 . . CT A   . 16, 2021   U da d 3:40 . . CT A   . 18, 2021


Iowa school districts and their administrators could face repercussions if they follow the lead
of the U.S. schools that are requiring students to wear facial coverings in violation of state
bans on mask mandates, according to the state's education department.

Iowa school districts haven't publicly shared plans to defy the new state law that prevents
schools, cities and counties from having mask requirements. But the law, which Iowa Gov.
Kim Reynolds signed after midnight on the final day of this year's legislative session, has
sparked an outcry among some parents, educators and medical experts as the delta variant
drives up Iowa's coronavirus case numbers and hospitali ations.

"Because the variant has shown an increase a dramatic increase in several of our counties
across the state it would be very timely for the governor to make a proclamation that
would allow school districts to make decisions for themselves," said Mike Beranek, president
of the Iowa State Education Association.

Iowa is among eight states that prohibit districts from putting in place universal masking
mandates inside school buildings, according to the Pew Charitable Trusts.

While the new law bars school administrators and board members from imposing mandates,
it does not prevent the governor from doing so.

►M e: As COVID surges and families fret, Iowa schools take different tacks as new school
year starts

But Reynolds, a Republican who has been critical of the new CDC guidance on masking, has
so far signaled she likely won't give schools that option. In a statement to the Des Moines
                                               PLAINTIFFS' APPENDIX 068
Register, she said she trusts Iowans to make decisions for themselves and their own families.

And Reynolds told KCRG-TV in an interview that she would need to see more data on the
effectiveness of school mask mandates before making changes.

"I think we just want to make sure that we're looking at all of the data, that we're taking
everything into account," she said. "Right now, we're not seeing that transfer into
hospitali ations with children. But we monitor the data every single day, and we'll continue
to monitor the data every day, and we'll respond accordingly."


Schools that break Io a la                   co ld face penalties from state
board
The new law banning local mask requirements, House File 847, does not outline specific
penalties for school districts that violate it. But school districts and their leaders could face
general consequences for violating state law.

Iowa Department of Education spokesperson Heather Doe said that school districts that
choose not to follow the ban could receive a citation for noncompliance. Schools that do not
correct those citations "in a timely manner" would be referred to the State Board of
Education, she said.

Doe did not answer follow-up questions about the possible penalties, but the lengthy
noncompliance enforcement process laid out in Iowa Code allows the state to assume more
oversight over a school district, and districts could ultimately risk losing accreditation.

The Iowa Board of Educational Examiners, which has the power to impose licensure
penalties on school leaders, could be a separate avenue of discipline. That process has
already played out once during the past year on a COVID-related matter after Des Moines
Public Schools resisted a state requirement to hold at least 50% of its classes in person at the
beginning of the fall semester. The district instead started the first two weeks of the
last school year online without a state waiver.

►M e: From mask recommendations to online options, here's how Iowa schools are
preparing for school to start

The Iowa Board of Educational Examiners heard a case against Superintendent Tom Ahart
but decided not to take away his license, instead opting to issue a letter of reprimand. The
letter was a symbolic slap on the wrist that acknowledged Ahart's motives to keep children
  f f     th i      b t id th t didPLAINTIFFS'
                                        t b l APPENDIX
                                                 hi f 069 f ll i        t t l
Des Moines Public Schools' decision last year also prompted some of Iowa's Republican
legislators to introduce multiple pieces of legislation earlier this year that would have
penali ed the district.

One bill would have retroactively expanded the grounds for stripping superintendents of
their licenses to explicitly include offering primarily remote learning without a waiver. A
separate bill outlining additional funding for school districts would have excluded Des
Moines Public Schools due to its noncompliance with state law at the beginning of the year.
Neither bill became law.

House Minority Leader Jennifer Konfrst, D-Windsor Heights, told reporters Tuesday that
she believes Republicans sent a message that will deter schools from taking similar action
this year.

"I think that some school districts are going to be pretty reticent to do that again because (of)
what they've seen as retaliation by the majority party in the Legislature," she said.


Fr stration mo nts for some people in states banning
mandates
In Iowa and across the country, school years are starting as the delta variant of the
coronavirus continues to spread in Iowa, and as children under 12 remain unable to be
vaccinated. As of Wednesday afternoon, Centers for Disease Control and Prevention data
showed all but four of Iowa's 99 counties with either "substantial" or "high" community
transmission of the virus.

The CDC's website cites studies showing that multi-layer cloth masks are effective in blocking
exhaled respiratory droplets that can spread the virus, and that schools have seen success in
limiting transmission by using layered prevention strategies, including mask use.

Do ens gathered at the Iowa Capitol Wednesday morning to protest the ban and call on the
state's Republican leaders to allow school districts to require masks in order to follow new
CDC guidelines that recommend mask wearing in school settings, even among the
vaccinated.

President Joe Biden last week voiced frustration with governors that have blocked local mask
mandates, singling out Florida and Texas, whose governors have signed executive orders that
include a ban on mask requirements in schools.
                                     PLAINTIFFS' APPENDIX 070
"I say to these governors, 'Please help,'" he said. "If you aren't going to help, at least get out of
the way of the people who are trying to do the right thing. Use your power to save lives."

Some Florida school districts have decided to ignore Republican Gov. Ron DeSantis'
executive order by requiring masks. In Texas, some of the state's largest school districts are
also defying a similar order by Republican Gov. Greg Abbott.

In Arkansas, the state's Republican governor, Asa Hutchinson, has said he regrets signing a
law in April that bans mask mandates. A judge has temporarily blocked the law.

But Republican leaders in Iowa have stood by the state's law after the CDC updated its
guidance.

Senate Majority Leader Jack Whitver said late last month that Iowans "have all the tools they
need, including an effective vaccine, to manage their own health care related to COVID-19,"
and that "they are ready to move forward with their choices."

Reynolds told KCRG that cases appeared to spread over the winter regardless of whether
states had mask mandates or not.

"Pretty much the whole map of the United States was burning down red in November and
December," she said. "There was no variation between the states that had locked down, the
states that have remained open, the states that have implemented mask mandates and those
that hadn t."

Ian Richardson covers the Io a Statehouse for the Des Moines Register. Reach him at
irichardson@registermedia.com, at 515-284-8254, or on T itter at @DMRIanR.




                                      PLAINTIFFS' APPENDIX 071
Exhibit J
 PLAINTIFFS' APPENDIX 072
PLAINTIFFS' APPENDIX 073
Exhibit K
  PLAINTIFFS' APPENDIX 074
PLAINTIFFS' APPENDIX 075
From: Iowa City Community Schools <noreply@iowacityschools.org>

Date: Fri, May 27, 2022 at 11:57 AM

Subject: COVID-19 Health & Safety Update

To: Iowa City Community School District Recipients <recipients@iowacityschools.parentlink.net>

Dear Families and Staff,

Our District has continued to track COVID-19 rates in our schools and in our county while also working
closely with Johnson County Public Health and local health experts regarding appropriate COVID-19
safety protocols. Unfortunately, the Johnson County COVID-19 transmission level has again shifted
into the high category

As a reminder, our District continues to follow our health and safety guidelines, which are adjusted
based on the county transmission level. Due to this shift into the high transmission category, we
encourage you to wear a mask indoors when appropriate, practice social distancing when possible, and
stay home when sick as these continue to be effective COVID-19 health and safety measures. On May
16, the U.S. Court of Appeals for the 8th Circuit ruled that school districts cannot universally require face
masks to be worn; however, we continue to strongly encourage their use when COVID-19 transmission
rates are high in our community. In addition, it is recommended to get vaccinated (and boosted) if you
are eligible.

We recognize that we are three days from the end of the school year. Many celebrations are taking
place today and next week throughout the District. We will allow students to gather in mixed classroom
cohorts for these celebrations. In addition, we are going to continue to allow visitors and volunteers into
buildings through the last day of school. We strongly encourage all students, staff, and visitors to wear a
mask while in a school building or while attending graduation ceremonies.

These health and safety precautions play a critical role in controlling the spread of COVID-19 within our
community and protecting those that are most vulnerable to the virus. We appreciate your support and
collaboration in keeping our community safe.


Sincerely,

Matt Degner
Superintendent
Iowa City Community School District
Messages from the District are sent in English, Arabic, French, Spanish, and Swahili based on the
language preference for communication that is designated by parents in Infinite Campus. Messages may
be distributed through multiple channels, including e-mail, phone, text message, mobile app, district and
school websites, and social media. Many of these channels offer multiple language options for users.
Through collaboration with our Principals, Teachers, Student & Family Advocates, and Cultural Liaisons,
messages may also be distributed through additional channels such as WhatsApp and Remind.




                                       PLAINTIFFS' APPENDIX 076
Exhibit L
  PLAINTIFFS' APPENDIX 077
                               No. 21–3268


         IN THE UNITED STATES COURT OF APPEALS
                 FOR THE EIGHTH CIRCUIT


                      THE ARC OF IOWA et al.,

                           Plaintiffs–Appellees,

                                     vs.

            KIM REYNOLDS, in her official capacity
     as Governor of Iowa; ANN LEBO, in her official capacity
        as Director of the Iowa Department of Education,

                          Defendants–Appellants,

          ANKENY COMMUNITY SCHOOL DISTRICT et al.,
                               Defendants.


            Appeal from the United States District Court
                 for the Southern District of Iowa


                          APPELLANTS BRIEF


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                           PLAINTIFFS' APPENDIX 078
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issue since the pandemic began. House Video, Consideration
of H.F. 847 (May 19, 2021, at 6:35:32, 7:11:50 PM), available

at https://perma.cc/BD9B-2FZ6. In response to questioning

from opponents about the possibility of new, more dangerous
variants needing mask mandates, see, e.g., id. at 6:15:35 PM,

he repeatedly explained that the Governor has the authority

to impose mandates if she decides they become necessary. See
id. at 6:18:50, 6:26:30; 7:09:50 PM. And there was even dis-

cussion about the exception permitting schools to impose

mask mandates when required by other law—with opponents

criticizing the inclusion of such a broad exception. See id. at

6:15:50.

      Section 280.31 contains no enforcement provisions. But
a school that violates the statute—like any school law—could

eventually be subject to loss of accreditation or other action by

the State Board of Education if the violation is not remedied.

See Iowa Code § 256.11(10)–(12). Similarly, a school adminis-

trator that disregards the statute could be subject to profes-

sional licensure discipline by the Iowa Board of Educational

Examiners. See Iowa Code § 272.2(4); Iowa Admin. Code r.

282-25.3(6)(m).

      Plaintiffs are eleven parents of children in Iowa public

school districts and one nonprofit organization—The Arc of



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                 SUMMARY OF THE ARGUMENT

      The district court preliminarily enjoined enforcement of Iowa

Code section 280.31, which generally prohibits schools from man-

dating the wearing of masks on school property. The court agreed

with Plaintiffs that they were likely to succeed on their novel claims

that this statute violates title II of the ADA and section 504 of the

Rehabilitation Act. But the district court abused its discretion in

granting this extraordinary remedy because its conclusion was

based on several errors of law.
      First, the injunction is unnecessary. Section 280.31 permits

schools to impose to mandate the wearing of masks if it “is required

by . . . any other provision of law.” The statute thus doesn t prevent

schools from complying with the ADA and section 504. And Plain-

tiffs don t suffer any injury from section 280.31 that is protected

those federal statutes.

      Second, the injunction is insufficient. Even if failing to have a

universal mask mandate in schools violates federal law, enjoining

enforcement of section 280.31 doesn t provide Plaintiffs such a man-

date. That remains an independent decision of the local schools.

Plaintiffs thus lack standing.

      Third, the district court improperly overlooked Plaintiffs fail-

ure to exhaust their administrative remedies under the Individuals




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      A.    Plaintiffs are not harmed by section 280.31
            because it permits schools to mandate facial
            coverings when required by federal law.

      Section 280.31 doesn t prohibit any actions of a school where

“the facial covering . . . is required by . . . any other provision of

law.” Act of May 20, 2021 (H.F. 847), ch. 139, 2021 Iowa Act § 28 (to
be codified at Iowa Code § 280.31). So even if Plaintiffs are correct

that federal law requires some masks in schools, section 280.31

doesn t prohibit it. No injunction of the statute s enforcement is re-

quired. A school already has it within its power to comply with any

requirement of federal law.

      To be sure, as discussed in Part III, the State disputes that

the ADA or the Rehabilitation Act impose any federal requirement

that a universal mask mandate be imposed in all Iowa schools—or

that they require local school decisionmakers to have the discretion
to impose such universal mandates rather than the Governor. And

presumably Iowa schools and their lawyers have come to the same

conclusion since none acted to impose a district-wide, or building-

wide universal mask mandate based on some requirement of fed-

eral law before the district court enjoined section 280.31.

      Yet the district court enjoined Governor Reynolds and Direc-

tor Lebo “from enforcing Iowa Code section 280.31 banning local

public school districts from utilizing their discretion to mandate

masks for students, staff, teachers, and members of the public.”



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      If Plaintiffs are correct that universal mask mandates in
schools are required by federal disability law, then section 280.31

doesn t stand in the way of their desired mandates. Their quarrel

would be with their schools. Now, a school may well disagree that
federal law requires a mask mandate. Or the school may fear that

it will be subject to enforcement action by the State and not want

to risk waiting until then to find out if the State is correct in its
interpretation of federal disability law. Plaintiffs might be able to

request some relief other than the granted injunction to seek reso-

lution of these disputes. But enjoining section 280.31 is a mismatch.

      An unnecessary injunction, relying primarily on evidence of

possible confusion over the text of a statute, is particularly prob-

lematic when it is a federal injunction against a state statute. See
Dixon, 950 F.3d at 1056 (vacating injunction for failure to properly

consider “whether a preliminary injunction served the public inter-

est in comity between the state and federal judiciaries”). “ Few pub-

lic interests have a higher claim upon the discretion of a federal

chancellor than the avoidance of needless friction with state poli-

cies. ” Id. (quoting R.R. Comm n of Tex. V. Pullman Co., 312 U.S.

496, 500 (1941)); see also id. (“ [F]ederal courts must be constantly

mindful of the special delicacy of the adjustment to be preserved

between federal equitable power and State administration of its

own law. ” (quoting Rizzo v. Goode, 423 U.S. 362, 378 (1976))).



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                          PLAINTIFFS'   —
                                      APPENDIX 082
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of the Rehabilitation Act. Add. 20.5 The court reasoned that “section
280.31 seems to conflict with the ADA and section 504 of the Reha-

bilitation Act because it excludes disabled children from participat-

ing in and denies them the benefits of public schools programs, ser-
vices, and activities to which they are entitled.” Add. 20. But nei-

ther the ADA nor the Rehabilitation Act require universal mask

mandates in schools or requires schools to have the discretion to
implement such mandates.

       A.    Section 280.31 s prohibition on schools imposing
             universal mask mandates is a neutral and
             nondiscriminatory policy that does not violate
             federal law.

       Courts typically analyze disability discrimination claims un-

der title II of the ADA and section 504 of the Rehabilitation Act
together. See, e.g., Davis v. Francis Howell Sch. Dist., 138 F.3d 754,

756 (8th Cir. 1998). Under both statutes, “a plaintiff must show that

he was a qualified individual with a disability and that he was de-

nied the benefits of a program, activity, or services by reason of that

disability.” Id. (citing 42 U.S.C. § 12132; 29 U.S.C. § 794(a)). And




   5Plaintiffs also brought a claim that the American Rescue Plan
Act of 2021 (“ARPA”), agency guidance, and a letter from the Sec-
retary of Education conflict with and supersede Iowa Code section
280.31. App. 42–44 ¶¶ 95–102. The district court didn t rely on this
claim in issuing its preliminary injunction. Add. 15 n.7.


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under both, when the denial occurs because of a neutral nondis-
criminatory policy rather than because of a plaintiff s disability, no

violation arises. See Davis, 138 F.3d at 756–57. It matters not

whether the plaintiffs “question the wisdom” of the policy. Id. at
756. The policy doesn t violate the federal statutes where it “applies

to all students regardless of disability and rests on concerns unre-

lated to disabilities or misperceptions about them.” Id. (cleaned up);
see also Timothy H. v. Cedar Rapids Cmty. Sch. Dist., 178 F.3d 968,

971–72 (8th Cir. 1999); DeBord v. Bd. of Educ., 126 F.3d 1102,

1105–06 (8th Cir. 1997).

       This Court has thus held that following a policy that all stu-

dents in an intra-district transfer program must provide their own

transportation is not disability discrimination. See Timothy H., 178
F.3d at 972. Nor is following a policy to administer medication in

schools only consistent with the maximum dosage recommended by

the Physician s Desk Reference. See Davis, 138 F.3d at 756; DeBord,

126 F.3d at 1105–06. And these were just policies of school dis-

tricts—not a duly enacted statute setting statewide education pol-

icy that is entitled to even greater respect.

      Section 280.31 establishes a uniform nondiscriminatory pol-

icy that—unless required by other law or a specific instructional or

educational purpose—local schools cannot require students, em-




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                          PLAINTIFFS'   —
                                      APPENDIX 084
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ployees, or visitors to wear face coverings. There s been no sugges-
tion that the statute was adopted to single out individuals with dis-

abilities. And it imposes no restriction on individuals—whether dis-

abled or not—at all. To be clear, all students, employees, and visi-
tors remain free to wear face coverings or take any other health

precautions they (or their parents) choose. The statute is mainly an

allocation of decision-making authority between the State and local
government, disconnected from students with disabilities. After

passage of section 280.31, a universal mask mandate as a public

health precaution can only be imposed by the Governor as a part of

her emergency powers during a public health disaster, rather than

by a school district. See Iowa Code §§ 135.144(3), 29C.6.

       The alleged denial of Plaintiffs desired universal mask man-
dates in their children s schools, and their further alleged denial of

education, is not caused because of their disability. If it s caused at

all, it s because of this neutral, nondiscriminatory statute. And

since title II of the ADA and the Rehabilitation Act do not override

neutral local school district policies, they also do not provide a basis

to override this statutory product of Iowa s democratic process.6

   6This argument—like the alternative arguments in subsections
B and C— defeats all of Plaintiffs ADA and section 504 claims be-
cause they negate the required statutory element of being denied a
benefit because of a disability. See Davis, 138 F.3d at 756. These




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      B.    A universal mask mandate in a school is not a
            reasonable modification and other reasonable
            modifcations exist.

      In granting the preliminary injunction, the Court held that

schools are required to make “reasonable modifications” and that

“universal masking policies are a reasonable modification, which
public schools are required to provide.” Add. 16, 20. But this Court

has not decided “whether the failure to make reasonable modifica-

tions in a policy is itself discrimination even where the policy and

its rationale cannot be shown to be discriminatory.” Davis, 138 F.3d

at 757; see also DeBord, 126 F.3d at 1106; cf. CVS Pharmacy, Inc.

v. Doe, No. 20-1374 (U.S. July 2, 2021) (granting certiorari on ques-

tion, which will be argued on December 7, 2021, whether a private

cause of action exists for disparate-impact disability discrimination

claim under section 504); Alexander v. Sandoval, 532 U.S. 275, 284-
86 (2001) (holding that similar Title VI does not create private

cause of action for disparate-impact discrimination claims). So

Plaintiffs can hardly be likely to succeed on a claim where the law

is unsettled.



same arguments were made in the district court. App. 318–24.
While the State didn t dispute that Plaintiffs children are qualified
individuals with disabilities, the State thus disputed the rest of
Plaintiffs claims. Nothing in the State s briefing limited its argu-
ment to only a claim based on denying a reasonable modification.
The district court erred in concluding otherwise. Add. 16 & n.8.


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      But even if reasonable modifications are required, a universal
mask mandate is not a reasonable modification. A modification that

imposes an undue administrative burden or a fundamental alter-

nation in the nature of the State s education program is not reason-
able. See Davis, 138 F.3d at 757 (holding that request to deviate

from medication policy wasn t reasonable because it would “impose

undue financial and administrative burdens on the district by re-
quiring it to determine the safety of the dosage and the likelihood

of future harm and liability in each individual case”); Timothy H,

178 F.3d at 972–73 (holding that request to establish a special free

bus route would be “an undue financial burden and a fundamental

alteration in the nature of the intra-district transfer program”);

P    ge   . M . S a e High Sch. Ac i i ie A          , 40 F.3d 926, 929–30
(8th Cir. 1994) (holding that request to participate in high school

baseball program as a nineteen year-old despite uniform age limit

was not reasonable modification because it would “constitute a fun-

damental alteration in the nature of the baseball program” given

its intent to protect younger athletes, have fair competition, and

discouraging delays in education).

      Modifying the uniform policy established by section 280.13 to

impose a universal mask mandate in schools—or permitting schools

to make those decisions—would be an undue burden and funda-

mentally alter the nature of the educational program established



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by the State. Modifying the policy to give schools discretion would
void the Legislature s policy decision to take the highly contentious

and emotional issue of masks in schools from the responsibility of

local schools so that local leadership could devote their time to other
important concerns. This fundamentally alters Iowa s education

program as set in section 280.31. And imposing a universal mask

mandate would impose the administrative and potential financial
and legal burdens of enforcing a mask mandate on all students, dis-

tracting teachers and school administrators from their educational

duties.

      A universal mask mandate is also not a reasonable modifica-

tion because it infringes on the rights of third parties—other stu-

dents, employees, and visitors. In the employment context, this
Court has repeatedly recognized that ADA doesn t require “accom-

modations that would violate the rights of other employees” and

doesn t impose “obligation to terminate other employees or violate

a collective bargaining agreement.” Wooten v. Farmland Foods, 58

F.3d 382, 386 (8th Cir. 1995); see also Buckles v. First Data Re-

sources, Inc., 176 F.3d 1098, 1100–02 (8th Cir. 1999) (rejecting “ir-

ritant-free work environment” as a reasonable accommodation for

employee with severe sensitivity to strong smells); Mason v. Frank,

32 F.3d 315, 319 (8th Cir. 1994) (holding that an accommodation

isn t reasonable if it “would violate the rights of other employees



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under a legitimate collective bargaining agreement”). Plaintiffs de-
sired modification of a universal mask mandate is an imposition on

the rights of all the other students and visitors to the school. And

that is not reasonable.
      That s all the more so here, where there are disability inter-

ests on both sides of the debate. Imposing a universal mask man-

date can harm disabled students with social communication issues,
such as those with autism, because it prevents the students from

advancing “social skills and understanding the express of those

around [the student] due to [the] fellow students and teachers wear-

ing masks.” App. 338 ¶ 6; App. 337 ¶¶ 9–10. It can also harm disa-

bled students with anxiety. App. 336 ¶¶ 4–6. And those who strug-

gle with speech and pronunciation. App. 337 ¶ 11. And those with
asthma. App. 337 ¶¶ 7–8. And those with severe and painful sen-

sory processing issues. App. 340–41 ¶¶ 4–6, 12 (describing how

wearing a mask feels like skin is “on fire or poked with sharp nee-

dles” creating “a traffic jam in her brain and she essentially be-

comes paralyzed in that moment). And those who are deaf. App.

357–62.

      The Legislature thus could have reasonably been concerned

about balancing all these competing interests, includes the possible

negative educational and social consequences. See World Health




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Organization, Advice on the Use of Masks for Children in the Com-
munity in the Context of COVID-19, Aug. 21, 2020, available at

https://perma.cc/TTQ8-PNHU (stating that “the benefits of wearing

masks in children for COVID-19 control should be weighed against
potential harm associated with wearing masks, including feasibil-

ity and discomfort, as well as social and communication concerns”).

      Even the U.S. Department of Education acknowledges that
any universal mask mandates in schools must attempt to provide

reasonable accommodations. See U.S. Dep t of Educ., Questions and

Answers on Civil Rights and School Reopening in the COVID-19

Environment, available at https://perma.cc/G88U-32SD, at 8–9.

The Legislature could conclude that where there are interests such

as these on both sides that it would remove the issue of universal
mask mandates from the discretion of local schools. And modifying

this decision to permit (or require) universal mandates is a funda-

mental alternation and undue burden of the State s policy choices.

It s not reasonable.

      Plaintiffs could seek other modifications that would be rea-

sonable. And section 280.31 doesn t prevent schools from engaging

with students to provide such modifications. Those could include,

for example, greater personal protective equipment for the student

(such as a higher quality N95 mask), greater social distancing, or




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perhaps if justified by the particular facts even limited masking of
teachers or students while interacting closely with the individual.

       Some Plaintiffs assert that they have asked for such modifi-

cations, but the schools aren t providing or following through on the
agreement.7 For example, one parent sought an accommodation in

advance of the school year that her son s teacher wear a mask when

she was working one-on-one with him. App. 118 ¶ 9. But after a
week of school, her son told her that his teacher wasn t wearing a

mask when interacting with him one-on-one. App. 118. ¶ 10; see

also App. 115 ¶ 18 (requesting that teacher mask and permit stu-

dent to leave class early to avoid crowded halls); App. 95 ¶ 10 (re-

questing small groups working with child to be voluntarily

masked); App. 110 ¶ 10 (requesting voluntarily masking around
child, a smaller classroom, and social distancing). But if this is so,

that s a harm being caused by the school, not enforcement of section

280.31 by the State. And such a failure doesn t support a claim

against the State or the court s preliminary injunction.




   7Failing to request a modification poses another reason some
Plaintiffs claims are unlikely to succeed. Cf. Ballard v. Rubin, 284
F.3d 957, 960–61 (8th Cir. 2002).


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      C.    A contrary interpretation of federal disability law
            would raise constitutional concerns.

      “[A]ny time a State is enjoined by a court from effectuating

statutes enacted by representatives of its people, it suffers a form

of irreparable injury.” New Motor Vehicle Bd. V. Orrin W. Fox Co.,
434 U.S. 1345, 1351 (1977) (Rehnquist, J., in chambers); see also

Rounds, 530 F.3d at 732–33.

      But education and protection of the public health are at the
core of the State s—rather than the federal government s—domain.

And the Supreme Court requires “Congress to enact exceedingly

clear language if it wishes to significantly alter the balance between

federal and state power.” Ala. A          f Rea       . De      f Hea h &

Hum. Servs., 141 S. Ct. 2485, 2489 (2021). Nothing in the text of

either the ADA or section 504 suggests, let alone clearly states, that
it authorizes these disability discrimination statutes authorize this

injunction s intrusion into the State s authority to set education and

public health policy. Plaintiffs novel interpretation that a State en-

gages in disability discrimination if it chooses to generally ban uni-

versal mask mandates should be rejected to avoid this constitu-

tional concern.

      To the extent that Plaintiffs can cabin their interpretation of

the statutes to only require that schools have discretion to consider

mask mandates, the constitutional concerns are even greater.




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There is even less of a federal interest in merely dictating the allo-
cation of authority between the State and local governments about

masks. And under the Tenth Amendment, the federal government

cannot intrude on the State s power to structure its internal divi-
sion of governmental power to school districts. See Hunter v. Pitts-

burgh, 207 U.S. 161, 178 (1907) (“The number, nature, and duration

of the powers conferred upon these [political subdivisions] and the
territory over which they shall be exercised rests in the absolute

discretion of the state.”); see also U.S. Const. amend. X (“The powers

not delegated to the United States by the Constitution, nor prohib-

ited by it to the States, are reserved to the States respectively, or to

the people.”). Such a constitutional problem should also be avoided.

                            CONCLUSION

      The district court abused its discretion in granting a prelimi-

nary injunction against enforcement of Iowa Code section 280.31.

Governor Reynolds and Director Lebo respectfully request that this

Court vacate the preliminary injunction in an expedited decision

and order the issuance of the mandate forthwith.

                                      Respectfully submitted,

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                                      JEFFREY S. THOMPSON
                                      Solicitor General


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                                      APPELLANTS




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                CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limitation of Fed. R.

App. P. 32(a)(7)(B) because, excluding the parts of the brief ex-

empted by Fed. R. App. P. 32(f), this document contains 10,390

words. It also complies with the typeface requirements of Fed. R.

App. P. 32(a)(5) and the type-style requirements of Fed. R. App. P.

32(a)(6) because this brief has been prepared in a proportionally

spaced typeface using Microsoft Word in 14-point Century School-

book font. And as required by 8th Cir. R. 28A(h), the brief and ad-
dendum have been scanned for viruses and are virus-free.

                                            /s/ Samuel P. Langholz
                                            Assistant Solicitor General


                    CERTIFICATE OF SERVICE

      The undersigned certifies that on the 18th day of October,

2021, this brief was electronically filed with the Clerk of Court us-

ing the CM/ECF system, which will serve all counsel of record.

                                            /s/ Samuel P. Langholz
                                            Assistant Solicitor General




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           Case 4:21-cv-00264-RP-SBJ Document 42 Filed 09/21/21 Page 1 of 26




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF IOWA
                                     CENTRAL DIVISION


 THE ARC OF IOWA et al.,                                               Case No. 4:21-CV-00264-RP-SBJ

 Plaintiffs,

 v.                                                                  DEFENDANTS GOVERNOR
                                                                  KIM REYNOLDS AND ANN LEBO S
 KIM REYNOLDS, in her official                                     RESISTANCE TO MOTION FOR
 capacity as Governor of Iowa, et al.                               PRELIMINARY INJUNCTION

 Defendants.


           COME NOW Defendants Governor Kim Reynolds and Ann Lebo (collectively,

      e S a e ) and submit this Resistance to Motion for Preliminary Injunction.

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                                                INTRODUCTION

         Nearly four months ago, the Legislature passed, and Governor Reynolds

signed, legislation enacting section 280.31 of the Iowa Code into law. See Act of May

20, 2021 (H.F. 847), ch. 139, 2021 Iowa Act § 28 (to be codified at Iowa Code § 280.31).

That statute became effective immediately, see id. § 31, and provides:

         The board of directors of a school district, the superintendent or chief
         administering officer of a school or school district, and the authorities in
         charge of each accredited nonpublic school shall not adopt, enforce, or
         implement a policy that requires its employees, students, or members of
         the public to wear a facial covering for any purpose while on the school
         d     c       acc ed ed          b c c              e        e     e ac a
         covering is necessary for a specific extracurricular or instructional
         purpose, or is required by section 280.10 or 280.11 or any other provision
         of law.

Id. § 28.

         Plaintiffs sued Governor Reynolds, Iowa Department of Education Director

Ann Lebo, and ten school districts, alleging that section 280.31 violates title II of the

A e ca                  D ab           e Ac ( ADA ), section 504 of the Rehabilitation Act, and

the American Rescue Plan Act of 2021 ( ARPA ). Compl., Doc. 1 ¶ 76 102. And this

Court granted their requested temporary restraining order enjoining all Defendants

         e      c      I        a C de ec           280.31 banning local public school districts from



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utilizing their discretion to mandate masks for students, sta , eac e , a d          .

TRO Order at 29; see also Compl., Doc. 1, at 37 ¶ 4.

      But the extraordinary remedy of preliminary injunctive relief sought by

Plaintiffs remains unnecessary and inappropriate. Enforcement of section 280.31 is

not the source of Plaintiffs alleged harms and enjoining it will not redress them.

Section 280.31 d e       e e     c           c               ede a a     a de

its enforcement won t necessarily provide them a universal mask mandate.

      Even looking past these defects, Plaintiffs are unlikely to succeed on the merits

of their novel claims. Section 280.31 is a neutral, nondiscriminatory State policy set

in statute and thus doesn t violate federal disability law. Universal mask mandates

in schools are not a reasonable modification to this policy because it would be an

undue burden, fundamentally alter the nature of the S a e education program, and

infringe on the rights of others. And Plaintiffs are barred from asserting these claims

because they haven t exhausted administrative remedies or properly pursued

reasonable modifications for their disabilities.

      Plaintiffs alternative claim based on ARPA also fails. Neither the text of the

ARPA statute nor the agency guidance requires schools to impose or have the

discretion to impose   universal mask mandates. And interpreting either to impose

such a requirement would raise serious constitutional concerns.

      Finally, the balance of the harms and the public interest do not support

enjoining a duly enacted statute that has been in effect for nearly four months,




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upsetting the status quo, and causing unnecessary confusion and conflict throughout

Iowa.

        Plaintiffs are understandably concerned about the health and education of

their children. But this lawsuit is not the proper tool to accomplish their goals.

Instead, they could seek appropriate reasonable modifications from their schools to

protect their health and meet their educational needs. Or they could advocate for

increased public health measures or changes to section 280.31 to their elected

Governor and legislators. The law does not provide them the relief they seek.

Plaintiffs request for a preliminary injunction should be denied and the temporary

restraining order should be allowed to expire.1

                STANDARD FOR PRELIMINARY INJUNCTION

         A preliminary injunction is an extraordinary remedy never awarded as of

right. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008). The power to grant

a   e       a          c      a bee     ca ed a    a e      e      e     a     ece a

requires the Court to analyze the record carefully to determine whether Plaintiff has

shown that it wil be       e a ab   a   ed ab e      e     a ce        e e   e ed e e .


1 Because this Court issued the temporary restraining order on September 13 and
provided it shall remain in full force and effect until the Court enters an Order on
Plaintiffs request for a preliminary injunction, this Court must rule on Plaintiffs
request on or before September 27, when the 14-day time limit on temporary
restraining orders expires. See Fed. R. Civ. P. 65(b)(2). This time limit applies even
to a temporary restraining order like this one that was entered after a hearing.
See Quinn v. Missouri, 839 F.2d 425, 426 (8th Cir. 1988); Waste Mgmt., Inc. v.
Defenbaugh, 534 F.2d 126, 129 (8th Cir. 1976) (holding that a temporary restraining
order that had been issued after an evidentiary hearing had extended beyond the
permissible time limit . . . must be treated as if it were a preliminary injunction ); see
also Chicago United Indus. V. City of Chicago, 445 F.3d 940, 946 (7th Cir. 2006);
Nutrasweet Co. v. Vit-Mar Enters., 112 F.3d 689, 692 94 (3d Cir. 1997).


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Mediacom Communications Corp. v. Sinclair Broad. Group, Inc., 460 F. Supp. 2d

1012, 1017 (S.D. Iowa 2006).

      Courts in the Eighth Circuit apply a four-part test           generally called the

Dataphase         factors to   determine   whether   preliminary    injunctive    relief   is

appropriate. Sanborn Mfg. Co., Inc. v. Campbell Hausfeld/Scott Fetzer Co., 997 F.2d

484, 485 86 (8th Cir. 1993) (citing Dataphase Sys., Inc. v. C.L. Sys., Inc., 640 F.2d

109, 114 (1981) (en banc)). The four Dataphase ac              a e: (1)   e      bab

success on the merits; (2) the threat of irreparable harm to the movant; (3) the

balance between this harm and the injury that granting the injunction will inflict on

other interested parties; and (4) whether the issuance of an injunction is in the public

  e e . Id. Ordinarily, [n]o single factor in itself is dispositive; in each case all of

the factors must be considered to determine whether on balance they weigh towards

  a           e        c   . Baker Elec. Co-op., Inc. v. Chaske, 28 F.3d 1466, 1472 (8th

Cir. 1994).

      But when a preliminary injunction seeks to enjoin the implementation of a

duly enacted state statute, a district court must make a threshold finding that a

party is likely to prevail on the merits. Planned Parenthood Minn., N.D. v. Rounds,

530 F.3d 724, 732 33 (8th Cir. 2008) (en banc). Only if a plaintiff makes this threshold

showing should the court then proceed to weigh the other Dataphase factors. Id. at

732. This         more rigorous standard    is intended      to ensure that preliminary

injunctions that thwart a state s presumptively reasonable democratic processes are

pronounced only after an appropriately deferential analysis. Id. at 733.




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                                           ARGUMENT

I.      Plaintiffs are not harmed by section 280.31 because it doesn t pre ent
        schools from complying with federal law and enjoining its
        enforcement doesn t redress Plaintiffs alleged harms because such
        relief doesn t provide a universal mask mandate.

        Section 280.31 does                 b       a     ac               a    c        e e     e ac a

covering . . . is required by . . . a           e                        a . Act of May 20, 2021 (H.F.

847), ch. 139, 2021 Iowa Act § 28 (to be codified at Iowa Code § 280.31). So if Plaintiffs

are correct that federal law requires some facial coverings in schools, section 280.31

d e      prohibit it. No injunction of the statute                  e     ce e      is required. A school

already has it within its power to comply with any requirement of federal law.

        To be sure, as discussed below in Part II, the State disputes that the ADA, the

Rehabilitation Act, or ARPA impose any federal requirement that a universal mask

mandate be imposed in all Iowa schools                         or that they require local school

decisionmakers to have the discretion to impose such universal mandates rather than

the Governor. And presumably Iowa schools and their lawyers have come to the same

conclusion since none acted to impose a district-wide, or building-wide universal

mask mandate based on some requirement of federal law before this C

temporary restraining order. But it any event,                     e e         eed to enjoin enforcement

of section 280.31.

        Plaintiffs   e   e ed preliminary injunction                                  ece a          a

insufficient to redress their alleged irreparable harms. They assert that their

     e a ab e a       a e    e      e ed                exposure to COVID-19 if they attend in-

person school or            ed ca       a                      e         the students are removed from



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school. Mem. of Authorities in Support of Mtn. for PI & TRO, Doc. 17, at 13 14. And

they believe that [i]f everyone were           ea     a     a   , these harms would be avoided

a d       e    c    d e       d be a e. Id. at 12.

      But Plaintiffs are not asking this court for an injunction requiring everyone in

  e   c       d e     c          ea a      a   . They seek only to enjoin Governor Reynolds

and Director Lebo from enforcing section 280.31. Compl., Doc. 1, at 37 ¶ 4. That

remedy their claimed harm. I             de e de      on the actions of independently elected

school boards to decide whether they will in fact implement a universal mask

mandate in their school districts like Plaintiffs hope. This lack of redressability is an

Article III standing concern with the relief that Plaintiffs seek. See Friends of the

Earth, Inc. . La d a      E       S       (TOC), I c., 528 U.S. 167, 185 (2000) ( [A] plaintiff

      de             ae   a d         e a ae          eac              e e        . ); Lujan v.

Defenders of Wildlife, 504 U.S. 555, 560 61 (1992) (requiring showing that injury is

fairly . . . trace[able] to the challenged action of the defendant ). And it shows that a

preliminary injunction granting such relief is inappropriate.

      True, since this Court issued its temporary restraining order, some schools

attended by some Plaintiffs have imposed a universal mask mandate. See, e.g., Press

Release, Des Moines Public Schools Will Reinstate Mask Mandate (Sept. 14, 2021),

https://perma.cc/CB3R-NBG6; Anthony Watt, A Safe Learning Environment: Inside

the Davenport School District s Debate to Mask Up, Quad-City Times (Sept. 16, 2021),

https://perma.cc/RJ8N-HXPQ. But the mask mandates might not be maintained

that depends on actions of third parties not being required by court order to provide




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such a mandate. Defendant Linn Mar Community School District decided to impose

a mandate only for students sixth grade and younger and set it to expire 60 days after

vaccines are available for children under twelve. See Trevor Oates, Linn-Mar School

Board Approves Mask Mandate for PK-6 Students, KWWL (Sept. 16, 2021),

https://perma.cc/MG3B-VVRU. And other districts have decided not to impose

mandates or are delaying any decision, even after the order, showing that this

     c       dd       e ed     e       a       s. See Scott Carpenter, Johnston School Board

Tables     Decision   to   Institute       a   Mask     Mandate,   KCCI   (Sept.   15,   2021),

https://perma.cc/8X2L-LH6Z; Teresa Kay Albertson, Ankeny School Board Debates

Mask Mandate as Crowd Voices Concerns about Body Autonomy , Freedom of Choice,

Des Moines Reg. (Sept. 14, 2021), https://perma.cc/SH6S-AMNP; see also Mask

Mandate Fails to Pass at Special Sioux City School Board Meeting, Radio Iowa (Sept.

16, 2021), https://perma.cc/PR5H-VWXE; Taj Simmons, Waukee School Board Votes

in Opposition of Mask Mandate Within the District, WHO 13 (Sept. 16, 2021),

https://perma.cc/55XJ-YKH9.

         Plaintiffs requested injunction is divorced from their alleged harm and any

likely valid legal claim. Because of this lack of standing, they are unlikely to succeed

on the merits and fail to show the injunction will remedy irreparable harm. Their

request for a preliminary injunction should be denied.




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II.   Plaintiffs are unlikely to succeed on the merits of their claims because
      neither federal disability law nor the American Rescue Plan Act of
      2021 requires universal mask mandates in schools or requires schools
      to have the discretion to implement such mandates.

      Plaintiffs assert that section 280.31 violates three federal laws: title II of the

Americans with Disabilities Act ( ADA ), section 504 of the Rehabilitation Act, and

the American Rescue Plan Act of 2021 ( ARPA ). Their pleading and briefing is

unclear as to whether they assert that these federal laws require universal mask

mandates in schools or merely that federal law requires school districts     rather than

the Governor      to have discretion to impose such mandates. At the hearing on the

temporary restraining order, counsel for Plaintiffs asserted it is only the latter,

despite most of the Complaint and Declarations being devoted to showing the alleged

need for universal mask mandates in schools. But regardless of the precise

formulation of the claims, they fail. Neither federal disability law nor the American

Rescue Plan Act of 2021 requires universal mask mandates in schools or requires

schools to have the discretion to implement such mandates.

      A.     Federal disabilit la doesn t require schools to impose or to
             have the discretion to impose universal mask mandates.

             1.      Section 280.31 s prohibition on school districts adopting
                     universal mask mandates is a neutral nondiscriminatory
                     policy.

      Courts typically analyze disability discrimination claims under title II of the

ADA and section 504 of the Rehabilitation Act together. See, e.g., Davis v. Francis

Howell Sch. Dist., 138 F.3d 754, 756 (8th Cir. 1998). Under both statutes, a plaintiff

must show that he was a qualified individual with a disability and that he was denied

the benefits of a program, activity, or services by reason of that disability. Id. (citing


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42 U.S.C. § 12132; 29 U.S.C. § 794(a)). And under both, when the denial occurs

because of a neutral nondiscriminatory policy rather than because of a plaintiff s

disability, no violation arises. See Davis, 138 F.3d at 756 57. It matters not whether

the plaintiff question the wisdom of the policy. Id. at 756. The policy doesn t violate

the federal statutes where it applies to all students regardless of disability and rests

on concerns unrelated to disabilities or misperceptions about them. Id. (cleaned up);

see also Timothy H. v. Cedar Rapids Cmty. Sch. Dist., 178 F.3d 968, 971 72 (8th Cir.

1999); DeBord v. Bd. of Educ., 126 F.3d 1102, 1105 06 (8th Cir. 1997).

       The Eighth Circuit has thus held that following a policy that all students in

an intra-district transfer program must provide their own transportation is not

disability discrimination. See Timothy H., 178 F.3d at 972. Nor is following a policy

to administer medication in schools only consistent with the maximum dosage

recommended by the Physician s Desk Reference. See Davis, 138 F.3d at 756; DeBord,

126 F.3d at 1105 06. And these were just policies of school districts not a duly

enacted statute setting statewide education policy that is entitled to even greater

respect.

      Section 280.31 establishes a uniform nondiscriminatory policy that unless

required by other law or a specific instructional or educational purpose, local schools

cannot require students, employees, or visitors to wear face coverings. There s been

no suggestion that the statute was adopted to single out individuals with disabilities.

And it imposes no restriction on individuals      whether disabled or not   at all. To be

clear, all students, employees, and visitors remain free to wear face coverings or take




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any other health precautions they (or their parents) choose. The statute is mainly an

allocation of decision-making authority entirely disconnected from disabilities. After

passage of section 280.31, a universal mask mandate as a public health precaution

can only be imposed by the Governor as a part of her emergency powers during a

public health disaster, rather than by a school district. See Iowa Code §§ 135.144(3),

29C.6.

         The alleged denial of Plaintiff s desired universal mask mandates in their

children s schools, and their further alleged denial of education, is not caused because

of their disability. If it s caused at all, i     because of this neutral, nondiscriminatory

statute. And since title II of the ADA and the Rehabilitation Act do not override

neutral local school district policies, they also do not provide a basis to override this

statutory product of Iowa s democratic process.

               2.     A universal mask mandate in schools is not a reasonable
                      modification and other reasonable modifications exist.

         In granting the temporary restraining order, this Court concluded that

Defendants are required to make reasonable modifications and that [a] universal

masking requirement instituted by a school is a reasonable modification. TRO

Ruling at 26. But the Eighth Circuit has not decided whether the failure to make

reasonable modifications in a policy is itself discrimination even where the policy and

its rationale cannot be shown to be discriminatory. Davis, 138 F.3d at 757; see also

DeBord, 126 F.3d at 1106; see also CERT; cf. Alexander v. Sandoval, 532 U.S. 275,

284-86 (2001) (holding that similar Title VI does not create private cause of action for




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disparate-impact discrimination claims). So Plaintiffs can hardly be likely to succeed

on a claim where the law is unsettled.

        But even if reasonable modifications are required, a universal mask mandate

is not a reasonable modification. A modification that imposes an undue

administrative burden or a fundamental alternation in the nature of the State

education program is not reasonable. See Davis, 138 F.3d at 757 (holding that request

to deviate from medication policy          a        ea         ab e because it would         e undue

financial and administrative burdens on the district by requiring it to determine the

safety of the dosage and the likelihood of future harm and liability in each individual

ca e ); Timothy H, 178 F.3d at 972 73 (holding that request to establish a special free

bus route       d be a         d e        a c a burden and a fundamental alteration in the

nature of the intra-d          c      a     e            a     ); Pottgen v. Mo. State High Sch.

Activ       A    , 40 F.3d 926, 929 30 (8th Cir. 1994) (holding that request to

participate in high school baseball program as a nineteen year-old despite uniform

a e         a      ea        ab e     d ca          beca       e         d c         ea     da e    a

alteration in   e a      e          e ba eba               a       given its intent to protect younger

athletes, have fair competition, and discouraging delays in education).

        Modifying the uniform policy established by section 280.13 to impose a

universal mask mandate in schools               or permitting schools to make those decisions

would be an undue burden and fundamentally alter the nature of the educational

program established by the State. Modifying the policy to give schools discretion

would void the Legislature           policy decision to take the highly contentious and




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emotional issue of masks in schools from the responsibility of local schools, allowing

that local leadership to devote their time to under important concerns. And imposing

a universal mask mandate would impose the administrative and potential financial

and legal burdens of enforcing a mask mandate on all students, distracting teachers

and school administrators from their educational duties. It also can have negative

educational and social consequences. See World Health Organization, Advice on the

Use of Masks for Children in the Community in the Context of COVID-19, Aug. 21,

2020, available at https://perma.cc/TTQ8-PNHU ( a                     a    e be e

wearing masks in children for COVID-19 control should be weighed against potential

harm associated with wearing masks, including feasibility and discomfort, as well as

  ca a dc           ca     c   ce       ).

      A universal mask mandate is also not a reasonable modification because it

requires infringing on the rights of third parties        other students, employees, and

visitors. In the employment context, the Eighth Circuit has repeatedly recognized

that ADA doesn      e    e accommodations that would violate the rights of other

employees and doesn            e    b    a            e   ae    e e       ee        aea

collective bargaining agreement. Wooten v. Farmland Foods, 58 F.3d 382, 386 (8th

Cir. 1995); see also Buckles v. First Data Resources, Inc., 176 F.3d 1098, 1100 02 (8th

Cir. 1999) (rejecting irritant-free work environment as a reasonable accommodation

for employee with severe sensitivity to strong smells); Mason v. Frank, 32 F.3d 315,

319 (1994) (holding that an accommodation isn t reasonable if it would violate the

rights of other employees under a legitimate collective bargaining agreement ).




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Pa             de        ed         d ca                a           e a        a       a da e is an imposition on the

rights of all the other students and visitors to the school. And that is not reasonable.

           T a       a          e      e       e e, where there are disability interests on both sides

of the debate. Imposing a universal mandatory mask requirement can harm disabled

students with social communication issues, such as those with autism, because it

prevents         e         de              ad a c                    ca              a d    de     a d         ee   e

those around [the studen ] d e                      [       e] e                de     a d eac e          ea        a       .

Gronau Dec. (attached) ¶ 6; see also Givens Dec. (attached) ¶¶ 9 10. It can also harm

disabled students with anxiety. See Gronau Dec. ¶¶ 4 6. And those who struggle with

speech and pronunciation. See Givens Dec. ¶ 11. And those with asthma. Givens Dec.

¶¶ 7 8. And those with severe and painful sensory processing issues. See Parker Dec.

(attached) ¶¶ 4 6, 12 (describing how wearing a mask feels like                                                         e

      ed               a        eed e       c ea                a     a c a                e b a    a d    ee e         a

bec        e     a a       ed          a            e       )

           Even the U.S. Department of Education acknowledges that any universal

mask mandates in schools must attempt to provide reasonable accommodations. See

U.S. De              Ed c., Questions and Answers on Civil Rights and School Reopening in

the COVID-19 Environment, available at https://perma.cc/G88U-32SD, at 8 9. The

Legislature could conclude that where there are interests such as these on both sides

that it would remove the issue of universal mask mandates from local schools. And

modifying this decision to permit (or require) universal mandates is a fundamental

a e        a      a d           d eb       de . I                   ea       ab e.




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      Plaintiffs could seek other modifications that would be reasonable. And section

280.31 doesn t prevent schools from engaging with students to provide such

modifications. Those could include, for example, greater personal protective

equipment for the student (such as a higher quality N95 mask), greater social

distancing, or perhaps if justified by the particular facts even limited masking of

teachers or students while interacting closely with the individual. Some Plaintiffs

assert that they have asked for such modifications, but the schools aren t providing

or following through on the agreement.2 See Preston Dec., Doc. 3-11, ¶ 18; Geest Dec.,

Doc. 3-12, ¶¶ 9 12; Roise Dec., Doc. 3-5, ¶ 10; Devereaux Dec., Doc. 3-10, ¶ 10. But if

this is so, that s a harm being caused by the school, not enforcement of section 280.31

by the State. And such a failure doesn t support a claim against the State or this

requested preliminary injunction.

             3.     Plaintiffs failed to exhaust their administrative remedies
                    under the IDEA.

      This Court need not even reach these questions about the scope of federal

disability law because Plaintiffs have failed to exhaust their administrative remedies

under the Individuals with Disabilities Education Act ( IDEA ). This dooms their

claims.

      The IDEA ensures that children with disabilities receive a free appropriate

public education, known as a FAPE. See Fry v. Napoleon Cmty. Sch., 137 S. Ct. at

743, 748 (2017). And the IDEA sets up a comprehensive procedure to provide a FAPE,



2Failing to request a modification poses another reason some Plaintiffs claims are
unlikely to succeed. Cf. Ballard v. Rubin, 284 F.3d 957, 960 61 (8th Cir. 2002).


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starting with the development of an individualized education program ( an IEP ) and

then progressing through an administrative process to resolve disputes between a

school and a family that can ultimately lead to a hearing before a neutral

administrative law judge and then judicial review in state or federal court. See id. at

748 49; see also Iowa Code §§ 256B.2(2), 256B.4, 256B.6; Iowa Admin. Code r. 281-

41.321 .328 (IEP process), 281-41.506 (mediations); 281-41.507 .518 (due-process

hearings).

      While Plaintiffs sue under title II of the ADA and section 504 of the

Rehabilitation Act    rather than under IDEA         they must still exhaust the

administrative remedies provided by the IDEA if they are seeking relief that is also

available under the IDEA. 20 U.S.C. § 1415(l); see also Fry, 137 S. Ct. at 750 ( [A]

plaintiff bringing suit under the ADA, the Rehabilitation Act, or similar laws must in

certain circumstances   that is, when seeking relief that is also available under the

IDEA first exhaust the IDEA s administrative procedures. ). This exhaustion rule

hinges on whether a lawsuit seeks relief for the denial of a free appropriate public

education. Fry, 137 S. Ct. at 754. If the suit claims discrimination in a way that does

not result in denial of a FAPE, then exhaustion is not required because, once again,

the only relief the IDEA makes available is relief for the denial of a FAPE. Id. at

755. In conducting this analysis, [w]hat matters is the crux    or, in legal-speak, the

gravamen     of the plaintiff s complaint, setting aside any attempts at artful

pleading. Id.; see also J.M. v. Francis Howell Sch. Dist., 850 F.3d 944, 948 49 (8th

Cir. 2017) (holding that gravamen of claim was denial of FAPE where parent alleged




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disabled student was in physical restraints for half of his school days and thus

 denied . . . because of his disability, participation in and the benefits of a public

education (quoting the complaint)).

      Plaintiffs allege that the lack of a universal mask mandate or perhaps the

lack of their schools authority to be able to consider such a mandate is excluding

them from receiving their education. See Compl, Doc. 1, ¶ 56 ( Students with

disabilities who are unable to safely return to brick-and-mortar schools because of

continued health concerns are being excluded from the public school system . . . . );

id. ¶ 59 ( Iowa state officials have effectively excluded these students from

participation in the public education system . . . . ); id. ¶ 58 ( Thus the Defendants

actions will have the perverse effect of either placing children with disabilities in

imminent danger or unlawfully forcing those children out of the public school

system. ); id. ¶ 57 (complaining of lack of virtual learning and that virtual learning,

even if available, is not a viable or adequate substitute for in person learning.

id. ¶ 54 (complaining that Children with disabilities are entitled to learn and

interact with all other children, to receive the same education as all other children );

id. ¶ 1 (alleging schools cannot comply with section 280.31 and still provide equal

access to their education ); id. ¶ 2 (alleging student risk harm to health or harm to

their education and development ); ¶¶ 38 40 (alleging various educational harms

to disabled students because of the pandemic). Their claimed discrimination is thus

an injury that is allegedly denying them a FAPE and that could be remedied by

granting relief under the IDEA. Exhaustion was required.




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       In its TRO ruling, this Court concluded otherwise by considering two

hypothetical questions: Could they have brought this claim against an entity other

than a school? And could a teacher or visitor bring a similar claim? TRO Ruling at

17 18. But the Eighth Circuit has explained that it s improper to approach this

question at a      e   e e   generality Nelson v. Charles City Cmty. Sch. Dist., 900

F.3d 587 (8th Cir. 2018); see also Fry, 137 S. Ct. at 759 (Alito, J., concurring)

(explaining that the hypotheticals are false clues that are likely to confuse and lead

courts astray given the overlapping coverage of the statutes).

       Given that Plaintiff s claims are driven by the focus on the importance of

education for their children and their exclusion from receiving that education, the

proper level of comparison is whether a teacher or visitor could bring a claim that

they re being forced to choose between their health or receiving an equal education

and they could not. Nor could the students bring that same claim against a different

entity, like a county courthouse or public library. But at bottom, asking the true

question demanded by the statute and Fry, students could get the relief they re asking

for   accommodation to their disabilities so they can receive a FAPE through the

IDEA administrative process.

       Because Plaintiffs have not exhausted their administrative remedies under the

IDEA their claims under the ADA or the Rehabilitation Act are subject to dismissal

as a matter of law and they are thus unlikely to succeed on these claims.




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      B.     ARPA doesn t require schools to impose           or have the discretion
             to impose universal mask mandates.

      As an alternative basis for enjoining section 280.31, Plaintiffs contend that it

conflicts with the American Rescue Plan Act of 2021 ( ARPA ). Compl. Doc. 1, ¶¶ 95

102. They argue that the statute, agency guidance, and a letter from the Secretary of

Education are squarely at odds with section 280.31 because it prohibits local school

districts, including Defendant School Boards, from implementing precisely the type

of safe return-to-school policies ARPA expects. Id. ¶ 101. But ARPA says nothing of

the sort. Neither does the agency guidance. And interpreting either to impose such a

requirement would raise serious constitutional concerns. Plaintiffs are unlikely to

succeed on this claim.

      Plaintiffs rely on section 2001(e)(2)(Q) of ARPA as the source of this purported

requirement. PI Brief, Doc. 17, at 25. Section 2001 establishes a $123 billion

Elementary and Secondary School Emergency Relief Fund and sets certain

requirements for allocation of the funds to the States and then to local schools. It

imposes two mandates on schools     that they publicly post a plan for the safe return

to in-person instruction and continuity of services and that they shall reserve not

less than 20 percent of such funds to address learning loss. American Rescue Plan

Act of 2021, Pub. L. No. 117-2, 135 Stat 4, § 2001(e)(1), (i). And then it provides that

they shall use the remaining funds for any of a list of 18 alternative purposes. Id.

§ 2001(e)(2). These include, for example: Purchasing supplies to sanitize and clean

the facilities, id. § 2001(e)(2)(I); Planning for, coordinating, and implementing

activities during long-term closures, id. § 2001(e)(2)(J); and repair, replacement,



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and upgrade projects to improve the indoor air quality in school facilities. Id.

§ 2001(e)(2)(P).

      The provision relied on by Plaintiffs is one of these 18 alternative purposes. It

provides the appropriated funds could be used for:

      Developing strategies and implementing public health protocols
      including, to the greatest extent practicable, policies in line with
      guidance from the Centers for Disease Control and Prevention for the
      reopening and operation of school facilities to effectively maintain the
      health and safety of students, educators, and other staff.

Id. § 2001(e)(2)(Q). Nothing in section 2001 requires a school or a State to chose to

spend any of the federal funds it receives for this purpose rather than any of the other

16 authorized purposes. So even if its text could be interpreted to impose some limited

requirement for any funded strategies and protocols in line with CDC guidance to

the greatest extent practicable, it would only apply if when funds are used for that

purpose.3 It would make no more sense to turn that single alternative into a blanket

mandate than it would to say that the other quoted provisions require schools to close

long-term or replace their HVAC systems.

      The agency guidance from the U.S. Department of Education fares no better.4

Plaintiffs point to Interim Final Requirements established by the Department

elaborate on the statutory requirement that schools adopt a plan for safe return to

in-person learning by requiring schools to include how it will maintain the health




3 Indeed, even applying the statute s terms, it s not at all clear that it would be
 practicable for a school to violate another law, such as section 280.31.
4 The correspondence from the Secretary of Education has no force of law and is

irrelevant to any preemption analysis.


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and safety of students, educators, and other school and LEA staff, and the extent to

which it has adopted policies, and a description of any such policies, on each of the

CDC s safety recommendations including Universal and correct wearing of masks.

Dep t of Educ. Interim Final Requirements, American Rescue Plan Act Elementary

and Secondary School Emergency Relief Fund, 86 Fed. Reg. 21,195, 21200 (Apr. 22,

2021); see also PI Brief, Doc. 17, at 25 26.

      Yet this language as well merely requires a school to describe what it is doing.

As the Department s guidance itself acknowledges, [t]he requirement does not

mandate that [a school] adopt the CDC guidance, but only requires that the [school]

describe in its plan the extent to which it has adopted the key prevention and

mitigations strategies.   86 Fed. Reg. 21,195, 21,201. A school can follow this

requirement without violating section 280.31.

      Neither ARPA nor the agency guidance imposes any requirement that schools

have authority to impose universal mask mandates. The analysis could stop there.

But if there were any doubt, the Constitution removes it. While Congress has the

power to impose requirements on the States through its spending power, if Congress

intends to impose a condition on the grant of federal moneys, it must do so

unambiguously. Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S. 1, 17 (1981).

This is because [t]he legitimacy of Congress power to legislate under the spending

power . . . rests on whether the State voluntarily and knowingly accepts the terms of

the contract for the federal funds. Id. By insisting that Congress speak with a clear

voice, we enable the States to exercise their choice knowingly, cognizant of the




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consequences of their participation. Id.; see also South Dakota v. Dole, 483 U.S. 203,

208 (1987).

      Section 2001(e)(2)(Q) does not clearly and unambiguously alert States that

school districts must have discretionary authority to impose universal mask

mandates. Neither does the agency guidance         and in any event only Congress, not

an agency, impose the unambiguous requirement. See Va Dep t of Educ. v. Riley, 106

F.3d 559, 567 (4th Cir. 1997) (en banc) (rejecting use of agency regulation to provide

constitutionally required clarity in spending-clause challenge); Tex. Educ. Agency v.

U.S. Dep t of Educ., 992 F.3d 350, 361 (5th Cir. 2021) ( Relying on regulations to

present the clear condition, therefore, is an acknowledgment that Congress s

condition was not unambiguous, so that method of analysis would not meet the

requirements of Dole).

      Education and protection of the public health is also at the core of the State s

rather than the federal government s       domain. And the Supreme Court requires

Congress to enact exceedingly clear language if it wishes to significantly alter the

balance between federal and state power. Ala. Ass n of Realtors v. Dep t of Health &

Hum. Servs., No. 21A23, 2021 WL 3783142, at *3 (U.S. Aug. 26, 2021). And under

the Tenth Amendment, the federal government cannot intrude on the State s power

to structure its internal division of governmental power to school districts. See Hunter

v. Pittsburgh, 207 U.S. 161, 178 (1907) ( The number, nature, and duration of the

powers conferred upon these [political subdivisions] and the territory over which they

shall be exercised rests in the absolute discretion of the state. ).




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       At bottom, this Court cannot imply the requirement alleged by Plaintiffs

consistent with these constitutional demands.5

III.   The balance of the harms and the public interest do not support
       enjoining a duly enacted statute that has been in effect for nearly four
       months that upsets the status quo and causes unnecessary confusion
       and conflict throughout Iowa.

       Section 280.31 has been in effect since May 20, 2021. See Act of May 20, 2021

(H.F. 847), ch. 139, 2021 Iowa Act § 28 (to be codified at Iowa Code § 280.31). Over

these past four months, Plaintiffs have thus been on notice that schools are now

generally prohibited from mandating face coverings. They have known that classes

would be resuming in August. And more than two months ago, it was publicly known

that the Delta Variant of COVID-19 was the dominant strain in the United States.

See Emily Anthes, Delta, as Expected, Is Now the Dominant Virus Variant in the U.S.,

the C.D.C. Estimates, N.Y. Times, July 7, 2021, available at https://perma.cc/BL3W-

2DBC.

       Yet they filed this lawsuit just two weeks ago and immediately sought the

extraordinary remedies of a temporary restraining order and preliminary injunction.

Their delay in suing counsels against concluding that enjoining section 280.31 is truly

an emergency that cannot wait while this proceeding progresses to full consideration

of the merits of their claims. See Benisek v. Lamone, 138 S. Ct. 1942, 1944 (2018) ( [A]

party requesting a preliminary injunction must generally show reasonable

diligence. ). This is all the more so, when they are unlikely to succeed in this suit.



5 These same constitutional concerns also counsel against interpreting federal
disability law as Plaintiffs suggest to so intrude into the states domain.


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        A preliminary injunction    like the temporary restraining order currently in

place    would continue to upset the status quo rather maintain it. Schools were

providing education to their students with section 280.31 in effect, in many cases for

several weeks before         C          e         a   e    a     de     ing. Suddenly

enjoining that law as predicted, see TRO Resistance, Doc. 21, at 7 has reopened

the debate in each school board and management team as to whether to adjust

masking requirements in their school, creating significant unnecessary confusion and

conflict that will continue until the injunction is dissolved. See Tim Johnson,

Shouting, Police Officers and Tears: Bluffs School Board Meeting Turns into an Anti-

Mask Demonstration, The Daily Nonpareil, (Sept. 14, 2021), https://perma.cc/D9N3-

HSS5; (Sept. 14, 2021), Teresa Kay Albertson, Ankeny School Board Debates Mask

Mandate as Crowd Voices Concerns about Body Autonomy , Freedom of Choice, Des

Moines Reg. (Sept. 14, 2021), https://perma.cc/SH6S-AMNP. Even schools that would

choose not to adopt a mask mandate will question whether they are now violating

federal law given    e      ca                C           de .

        And while Plaintiffs only seek injunction of enforcement of section 280.31, the

necessary implications of this Court holding that they are entitled to such an

injunction based on any of the federal laws are much broader. If a universal mask

mandate is a reasonable modification, is every school district in the state violating

federal disability law if it does not impose a universal mask mandate? For that

matter, is every government entity or recipient of federal funds required to do so in

all its buildings? And every employer or public accommodation that is subject to the




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ADA?    This cannot be. Yet these questions are now present and will continue

percolating so long as section 280.31 is enjoined by this Court on the basis of federal

disability law.

       [A]ny time a State is enjoined by a court from effectuating statutes enacted

by representatives of its people, it suffers a form of irreparable injury. New Motor

Vehicle Bd. V. Orrin W. Fox Co., 434 U.S. 1345, 1351 (1977) (Rehnquist, J., in

chambers); see also Planned Parenthood Minn., N.D. v. Rounds, 530 F.3d 724, 732

33 (8th Cir. 2008) (en banc). And so too are those parents, including those of disabled

students, who made decisions in reliance         ec       280.31       b            ca

schools imposing universal mask mandates. See Gronau Dec. (attached); Givens Dec.

(attached) Parker Dec. (attached).

       The balance of the harms and the public interest do not support continuing to

enjoin section 280.31.6

                                     CONCLUSION

       For these reasons, this Court      d de    Pa         Motion for a Preliminary

Injunction and allow the temporary restraining order to expire.




6 If this Court nevertheless grants P a                      a e        a         c   ,
Rule 65(c) requires the court to set a bond. See R. Civ. P. 65(c) (authorizing issuance
      e     a        c      only if the movant gives security in an amount the court
considers proper to pay the costs and damages sustained by any party found to have
been wrongly enjoined ) (emphasis added)); see also Rathmann Group v. Tanenbaum,
889 F.2d 787, 789 (8th Cir. 1989). Absent other evidence from the school district
Defendants, a bond of $25,000 would likely be appropriate under the circumstances
to cover the potential costs and attorney fees incurred by all Defendants in response
to the injunction.


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                              Respectfully submitted,

                              THOMAS J. MILLER
                              Attorney General of Iowa

                              JEFFREY S. THOMPSON
                              Solicitor General

                              /s/ Samuel P. Langholz
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                              jeffrey.thompson@ag.iowa.gov

                              ATTORNEYS FOR DEFENDANTS
                              GOVERNOR KIM REYNOLDS AND
                              ANN LEBO


                                                 PROOF OF SERVICE
                                The undersigned certifies that the foregoing instrument was
                               served upon all parties of record by delivery in the following
                               manner on September 17, 2021:

                                  U.S. Mail                            Email
                                  Hand Delivery                        Overnight Courier
                                  Federal Express                      Other
                                  CM/ECF

                              Signature: /s/ Samuel P. Langholz




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Exhibit N
  PLAINTIFFS' APPENDIX 123
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                              DECLARATION OF JONATHAN CRAIG

           COMES NOW, Johnathan Craig and pursuant to 28 U.S.C. § 1746, declares under

  penalty of perjury that the following is true and correct:

      1.   My name is Johnathan Craig, and I am over 18 years old. I have personal knowledge of

           the facts as stated herein.

     2. I am the father ofE.C., who is five years old and is in kindergarten and has been

           diagnosed with Down's syndrome, chronic seizures, and chronic respiratory problems.

           See Exhibit A (Letter from Doctor Lisa Menzies). These conditions put her at higher risk

           for severe complications if she were to become infected with COVID-19. E.C. is in a

           wheelchair and is nonverbal.

     3. I am also the father of J.C., who is eleven years old and is in fifth grade and has been

           diagnosed with sickle cell anemia and functional asplenia and has a compromised

           immune system. See Exhibit B (Letter from Doctor Lisa Menzies). These conditions put

           him at higher risk for severe complications ifhe were to become infected with COVID-

           19.

     4. I also have two other children who are not disabled and do not have health conditions that

           put them at greater risk for severe complications should they contract COVID-19-A.C.,

           who is eight years old and in third grade, and A.C., who is five years old and in

           kindergarten.

      5. Because all my children are under the age of twelve, they are not eligible to receive any

           of the currently authorized COVID-19 vaccines.




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   6. Last year, my children attended school at the Urbandale School District. We have moved

      to Waterloo in Black Hawk County, Iowa, and this year they would be attending the

      Waterloo School District.

   7. My children, E.C. and J.C., receive disability supports, services, and accommodations,

      and J.C. has a 504 plan.

   8. The medical provider for my children recommends having J.C. do remote learning due to

      bis medical complexities and a lack of mask or vaccine mandate in school. See Exhibit B

      (Letter from Doctor Lisa Menzies). For E.C., my children's medical provider

      recommends having her do distance learning at this time, considering the "high risk of

      severe complications from infection with SARS-CoV-2 infection" due to being "a

      medically complex child" and the lack of a vaccine for her age group. See Exhibit A

      (Letter from Doctor Lisa Menzies). For my children with no medical conditions, the

      children's doctor recommends that they do remote learning as well due to the siblings'

      medical complexities, the lack of a mask mandate or vaccine mandate at school, and the

      current level of the Delta variant of COVID-19 and the increased infectivity and severity

      of disease seen in children related to the variant. See Exhibits C and D (Letters from

      Doctor Lisa Menzies).

   9. The Waterloo School District for the upcoming school year is offering a 100% remote

      learning option. The remote learning option does not provide the necessary supports,

      services, and accommodations for my disabled children, including direct instruction and

      socialization with peers.

   10. My child, J.C., utilized the 100% remote option last year. My child struggled to get the

      academic help he needed and suffered in terms of bis emotional and mental health. He




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        also fell behind in both reading and math. My child, E.C., attended neither in-person nor

        100% online learning last year and was held back due to her health issues and the

        challenges online learning presented. In-person instruction provides the best mode of

        instruction for my children's needs.

     11. Last year, the Waterloo School District had a mask mandate until the mask mandate ban

        went into effect. Once the ban went into effect, most teachers and students no longer

        wore masks.

     12. Since the start of school, most teachers and students are not wearing masks at school.

        There is no social distancing in the classrooms or in the lunchroom.

     13. As of August 30, 2021, the Waterloo School District's COVID-19 dashboard shows 12

         students and 6 teachers are positive for COVID-19 in all elementary schools. The

         dashboard shows that 59 students and less than 6 teachers are quarantining due to

         exposure to someone who tested positive for COVID-19 in all elementary schools.

     14. For this school year, we have made the difficult decision to again keep our children at

         home and do remote learning. I work both in-person and remotely while my wife is

         staying home with the children to assist with online learning. Like last year, J.C. does not

         have the socialization he needs with online learning and has difficulty focusing for long

         periods of time. I fear he may fall further behind this year. Although E.C. has been

         issued a school computer, she has been unable do to online learning due to the extent of

         her disabilities.

      15. My wife and I have been forced to choose between our children's education and their

         health.




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          16. I am seeking to have HF847 blocked so that my school will be able to require universal

              masking as necessary to meet its obligations to my children.

              I swear under penalty of perjury under the laws of the United States that the foregoing is

       true and correct to the best of my knowledge.

              Dates this   3   day of September 2021, at Waterloo, Iowa.




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                 DECLARATION OF LISA HARDISTY SITHONNORATH
COMES NOW, Lisa Hardisty Sithonnorath and pursuant to 28 U.S.C. § 1746, declares under

penalty of perjury that the following is true and correct:

   1. My name Lisa Hardisty Sithonnorath, I am a resident of Des Moines, Iowa. and I am over

       18 years old. I have personal knowledge of the facts as stated herein.

   2. 1 am the mother of two children who attend Jefferson Elementary School in the Des Moines

       Public Schools.

   3. J.S. is   seven   years old and is enrolled in the second   grade.
   4. A.S. is five years old and is enrolled in    kindergarten.
   5. Because my children are under the age of twelve, they are not eligible to receive any of the

       currently authorized COVID-19 vaccines.

   6. A.S. is diagnosed with Down syndrome, hypothyroidism and has a previous history of viral

       induced asthma.

   7. The CDC has identified these conditions as risk factors for severe illness from COVID-19.

   8. A.S. has had an assistant who is assigned to help her with medical and cognitive issues

      from her Down syndrome.

   9. As a pediatric doctor myself, I am aware ofthe risks of complications from COVID-19 for

      my child with Down syndrome.

   10. A.S.'s treating doctor has also informed me that my child is at risk for severe complications

      if she contracts a COVID-19 infection. According to her doctors, to decrease her risk.

      everyone around her should observe strict COVID-19 safety protocols and wear a mask

      indoors. (Sce Attached Exhibit A).




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11.   Because of      A.S. 's medical and cognitive issues, she will mimic behavior and cannot follow
      instructions     easily.   It is much      more   difficult for her   to   adhere   to current   mitigation
      slrategies, such as wearing a mask, handwashing independently, or social distancing. so it

      is even more important that others wear a mask and follow CDC guidelines around her.

12. Last year A.S.                 enrolled in the remote                and I witnessed serious
                           was
                                                                option                                  negative
      consequences to the point that I had to hire an assistant who would come home and work

      with A.S.       throughout    the    day   for individualized instruction. This person is        no   longer
      available to assist us with A.S.," remote learning, and it is difficult to find someone who

      could help with all of A.S. needs.

13. A.S. could not access education through virtual instruction because children with Down

      syndrome tend to be visual and hands on rather than verbal learners and have difficulty

      with focusing for long periods of time, and unfortunately, visual instruction is near

      impossible to accommodate for a student with Down syndrome in a remote setting. A.S.

      has regressed in several areas, even with significant parental involvement in both

      curriculum development and dedicated learning time.

14. A.S. also experienced significant expressive communication regression since she did not


      have everyday access to her peers at school.

15. This year Des Moines Public Schools is offering an online program through Edgenuity.

      This online program is pre-recorded and self-taught, and does not provide the necessary

      supports, services, and accommodations, including direct instruction for child with

      disabilities.

16. Because of A.S.'s individualized needs, this fall we believe it important to send our

      children back to school in person.




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   17.1 am very anxious about sending my children to school for in person instruetion and the

       thought that they might contract COVID-19. especially with A.S.'s medical history

   18. My son. J.S. has also been anxious about getting COVID-19 at school and exposing others

       in our household.

   19. We also have a medically fragile family. I have asthma, which puts me at risk for severe

       illness from COVID-19 ifour children were to bring it home from their sehool. My husband

       is   a   former smoker which also   places him in the high-risk category
   20.I believe that if everyone was wearing a mask and the school was following the guidance

       and recommendations from the CDC, my children would be safe in school.

   21. My child is having to take greater risks - and unnecessary risks - to get her education


       than other students. I think this unfair.

   22. I am seeking to have HF847 blocked so that my school will be able to require universal

       masking as necessary to meet its obligations to my child.

   I swear under the penalty of perjury under the laws of the United States that the foregoing is

true and correct to the best of my knowledge.




       Dated this     day of September 2021., at Des Moines. wa,

                                                          aHdsSehomorath




                                    PLAINTIFFS' APPENDIX 138
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                            DECLARATION OF REBEKAH STEWART

         COMES NOW, Rebekah Stewart and pursuant to 28 U.S.C. $ 1746, declares under

penalty of perjury that the following is true and correct:

    1. My name is Rebekah Stewart, and I am over 18 years             old. I have personal knowledge   of

         the facts as stated herein.

   2.    I am a member of the ARC of Iowa.
    I
    J.   E.M.S. is 10 years old and entering    4'n grade and has    Williams Syndrome, which is a

         genetic condition that results in slow growth, heart problems, gastrointestinal issues, and

         learning disabilities. If she needs anesthesia due to a medical issue, she would be at

         increased danger    ofgoing into cardiac arrest.

    4.   Because my child has heart problems, she meets the CDC guidelines for children who are

         at   risk for severe complications if infected with COVID-i9.

    5.   I also have two other children who     are not disabled and do not have health conditions that

         make the child at risk of serious illness from COVID-19-E.M.S., who is 7 years old and

         in l"   grade, and L.J.S., who is 2 and a half years old.

    6.   Because my children are under the age      of   12, my children are not eligible to receive any


         of the currently authorized Covid-19 vaccines.

    7.   My children attend school at the Linn Mar School District. We live in Linn Counfy,

         Iowa.

    8. The Linn-Mar        School District for the upcoming school year is offering a 100o/o remote

         learning option for K-12 students through a third-parfy vendor, called Edmentum. For K-

         5 students, Edmentum uses pre-recorded videos as opposed to live teacher instruction and

         requires a student to be able to self-pace and relies heavily on parental guidance. The




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      remote learning option does not provide the necessary supports, services, and

      accommodations for my disabled child, including direct instruction and socialization with

      peers.

9.    E.M.S. used the 100% online learning option last year; that program had live instruction.

      She was unable to keep focused, struggled     with lack of socialization with peers, and had

      an increase in behavior problems.   My child remained at baseline and did not make gains

      in her learning. In-person instruction provides the best mode of instruction for my child's

      needs.

10. Last year the    Linn Mar School District had   a mask mandate      until the mask mandate ban

      went into effect. Once the ban went into effect, most teachers wore masks, but most

      students did not wear masks.

1   1. For this school year, we have made the   difficult decision to send E.M.S. back to in-

      person school. Online learning this year poses a hardship for the      family. My husband

      and   I work hybrid where we are required to work in-person at times and sometimes

      remotely. The district's remote option this year does not include live teacher instruction

      and requires my daughter to be able to self-pace, which    will   be a challenge for her, and

      would require us to assist her more with her learning, which will be a challenge for us

      due to our work situations because we cannot work from home full-time.

12.   I believe that if everyone was wearing    a mask and the school was     following the guidance

      and recommendations from the CDC, my children would be safe in school.

13. As a result of   Iowa's law, my child is having to take unnecessary risks to her health in

      order to get an education.




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   14.   I am seeking to have HF847 blocked so that my school will    be able to require universal

         masking as necessary to meet its obligations to my child.

         I swear under penalty of perjury under the laws of the United   States that the foregoing is

true and correct to the best of my knowledge.
                      /l
         Dates this        day of September 2021, at Cedar Rapids, Iowa.
                      f




                                      PLAINTIFFS' APPENDIX 141
PLAINTIFFS' APPENDIX 142
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                        DECLARATION OF AMANDA DEVEREAUX

      . COMES NOW, Amanda Devereaux and pursuant to 28 U.S.C. § 1746, declares under

penalty of petjury that the following is true and conect:

    1. My name is Amanda Devereaux, and I am over 18 years old. I have personal knowledge

        of the facts as stated herein.

    2. I am a member of the ARC of Iowa.

    3. I am the mother of P.D., who is 5 years old and in kindergarten and has symptomatic

        congenital cytomegalorvirus, polymicrogyria ; epilepsy, feeding delay, expressive and

        language delay,,nonverbal, hearing loss, gross and fine motor skill delays, and uses a

        feeding tube. P.D. was born with a brain malformation, which was caused intellectual

        and developmental delays to the extent that she operates at a 1-year-old level.

    4. I also have another child, A.D., who is not ·disabled and has no health conditions, who is

        9 years old and in_3'd grade. ,      JJ l        J 1   • I


    5. Because my children are under the age of 12, they are,not eligible to receive any of the

        currently authorized Covid-19 vaccines.     1)
                                                                     ,,,)
    6. My children attend school at the Ankeny School District. W.e live in Polk County, Iowa .

   7. P .D. 's medical provider Doctor Mark Schleiss, is a pediatrician at the University of

       Minnesota and specializes in infectious diseases. See Exhibit A (Letter from Doctor

       Mark Schleiss). Bec_ause of P.D.'s diagnosis of symptomatic congenital ,

       cytomegalovirus, Dr. Schleiss states that P.D. 1) is at higher risk for serious and fatal

       CG>VID-19disease, 2) has animmune system that is affected by the condition, and 3)

       should not be forced to stay at home and be deprived of learning. See Exhibit A (Letter

       from Doctor Mark Schleiss). In addition, Dr. Schleiss has said that unless all students are




                                     PLAINTIFFS' APPENDIX 144
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   wearing masks it is not safe for P.D.at school during the COVID-19 pandemic. See

   Exhibit A. (Letter from Dr. Schleiss ). lDr. Schleiss has also emphasized that there is no

   evidence that mask wearing has any negative impact on a child 's well-being. See Exhibit

   A (Letter from Dr. Schleiss) .                                'J


8. The Ankeny School District for the upcoming school year is offering a 100% remote

   learning option for elementary school aged students through a third-party vendor , called

   Edgenuity . Edgenuity uses pre-recorded videos; there is no live teacher instruction and

   students must be able to self-pace . This remote learning option does 11-ot
                                                                             provide the

   necessary supports, services, and accommodations P.D. needs, including direct

   instruction and socialization with·peers. In-person instruction provides the best mode of

   instruction for P.D. , given her needs.                                 I,     j   t

9. P .D. attended school in-person last year because the Ankeny School District required

   masks. When the mask mandate ban went into effect for schoo1s, I kept>P .D. in school

   only because the persons working with her voluntarily wore masks, but I pulled A.D. out

   of in-person school because it was no longer safe considering the lack of a mask mandate

   and his sibling's medical conditions.                    ••        ')



I 0. I reached out to the Ankeny School District about my concerns about masking at the

   school. The district agreed that'persons at the school would '.bevoluntarily masked while

   doing special education services with P.D. for 2 Yihours a day for 4 days a week. P.D.

   would be in a smaller classroom and be socially distanced from other students. The

   district ,will not be able to do core cmriculum at school due to not being able to require all

   students to wear masks ; therefore , my husband and I would be responsible for doing core

  instruction at home. We do not think us doing core instruction for P .D. at home is best




                               PLAINTIFFS' APPENDIX 145
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                        PLAINTIFFS' APPENDIX 146
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   17. I am seeking to have HF84 7 blocked so that my school will be able to require universal

       masking as necessary to meet its obligations to my child.

       I swear under penalty of perjury under the laws of the United States that the foregoing is

true and correct to the best of my knowledge.

       Dates this U\~day of September 2021, at Ankeny, Iowa.




                                                    -hf4JJ.'1!- l,L/?J}AlJ)A
                                                      andaevereaux, Plaintifi7




                                   PLAINTIFFS' APPENDIX 147
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                      PLAINTIFFS' APPENDIX 148
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                      PLAINTIFFS' APPENDIX 149
Case 4:21-cv-00264-RP-HCA Document 3-11 Filed 09/03/21 Page 3 of 4




                      PLAINTIFFS' APPENDIX 150
Case 4:21-cv-00264-RP-HCA Document 3-11 Filed 09/03/21 Page 4 of 4




                      PLAINTIFFS' APPENDIX 151
      Case 4:21-cv-00264-RP-HCA Document 3-13 Filed 09/03/21 Page 1 of 2




                     DECLARATION OF CHARMAINE ALEXANDER

COMES NOW, Charmaine Alexander and pursuant to 28 U.S.C. § 1746, declares under penalty

of perjury that the following is true and correct:

   1. My name Charmaine Alexander, I am a resident of Urbandale, Iowa, and I am over 18

       years old. I have personal knowledge of the facts as stated herein.

   2. I am the mother of two children, C.B. who is eleven years old and C.A. who is three years

       old.

   3. C.B.is enrolled in the sixth grade at Summit Middle School in the Johnston Community

       School District.

   4. Because my children are under the age of twelve, they are not eligible to receive any of the

       currently authorized COVID-19 vaccines.

   5. C.B. has asthma, which the CDC has identified as putting him at risk of severe illness from

       COVID-19.

   6. C.B. has a 504 plan to address his asthma as well as his attention deficit hyperactivity

       disorder (ADHD). (See Attached Exhibit A).

   7. C.B.’s treating doctor has informed me that my child is at risk for severe complications if

       he contracts a COVID-19 infection.

   8. Last year C.B. was enrolled in the remote option. While that had some difficulties, at least

       I knew my child was safe. If the school offered a remote option, I would enroll him through

       that for this year again.

   9. However, the Johnston Community School District is not offering online or remote options

       this year, so I have no choice but to send C.B. back to school in person.




                                                     1
                                    PLAINTIFFS' APPENDIX 152
      Case 4:21-cv-00264-RP-HCA Document 3-13 Filed 09/03/21 Page 2 of 2




   10. I feel like I cannot keep my own child safe. I am very anxious about sending C.B. to school

       for in person instruction given the risks if he contracts COVID-19, especially with his

       medical history.

   11. After his first week in person, I am even more concerned, because C.B. has reported that a

       vast majority of teachers and other students are not wearing masks in the classrooms.

   12. C.B. has been anxious about getting COVID-19 because others in his school are not

       masking, and he is afraid he would get others in our home sick.

   13. There have already been at least six positive cases at the middle school, that I am aware of.

       However, they only notify parents if their child’s specific classroom has a positive case, so

       we do not even have sufficient information to keep our children safe.

   14. We also have a medically fragile family. I have asthma, which puts me at risk for severe

       illness from COVID-19.

   15. I believe that if everyone was wearing a mask and the school was following the guidance

       and recommendations from the CDC, my child would be safe in school.

   16. My child is having to take greater risks – and unnecessary risks – to get his education

       than other students. I think this unfair.

   17. I am seeking to have HF847 blocked so that my school will be able to require universal

       masking as necessary to meet its obligations to my child.

   I swear under the penalty of perjury under the laws of the United States that the foregoing is

true and correct to the best of my knowledge.



       Dated this ___ day of September 2021, at Urbandale, Iowa.

                                                       ______________________________
                                                       Charmaine Alexander



                                                   2
                                   PLAINTIFFS' APPENDIX 153
                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF IOWA

 THE ARC OF IOWA et al.,
                                                         Case No. 4:21-cv-264
                Plaintiffs,
         v.
                                                         SUPPLEMENTAL DECLARATION
 KIM REYNOLDS et al.,                                    OF CHARMAINE ALEXANDER

                Defendants.



COMES NOW, Charmaine Alexander and pursuant to 28 U.S.C. § 1746, declares under penalty

of perjury that the following is true and correct:

   1. Following this Court’s decision granting the temporary restraining order, the Johnston

       school board met to review their masking policy.

   2. On September 21, 2021, the Board voted to implement a district wide universal mask

       mandate.

   3. The mandate includes all students, staff, and visitors, regardless of vaccination status, and

       was effective as of September 23, 2021.

   4. I am glad the Board took this important step to protect children, like C.B., who are at high

       risk of severe illness or complications from COVID-19.

   5. Prior to this mandate, C.B. was one of a few students who wore a mask at school, this

       made him feel anxious and distracted from his schoolwork. Now he will feel more

       comfortable masking at school, and this will also allow him to focus on his education

       while at school.




                                                     1

                                    PLAINTIFFS' APPENDIX 154
   6. With universal masking in place, I feel much safer sending my child to school in person.

       My child is no longer having to take greater – and unnecessary risks- than other students

       to get his education.

   I swear under the penalty of perjury under the laws of the United States that the foregoing is

true and correct to the best of my knowledge.



Dated this ___ day of September 2021, at Urbandale, Iowa.

                                     ______________________________
                                     Charmaine Alexander




                                                2

                                  PLAINTIFFS' APPENDIX 155
                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF 1OWA

 THE ARC OF 1OWA ct              al.
                                                           Case No. 4:21-cv-264
                     Plaintifs
                                                           SUPPLEMENTAL DECLARATION
 KIM REYNOLDS et al.                                        OF LISA HARDISTY
                                                            SITHONNORATH
                     Defendants


COMES NOW, Lisa Hardisty Sithonnorath and pursuant to 28 U.S.C. § 1746. declares under

penalty of perjury that the following is true and correct:

      1. Following this Court"'s decision granting the temporary restraining order. the Des Moines

           school board met to review their masking policy.

   2. On September 14, 2021, the Board voted to implement a district wide mask mandate in the

           Des Moines Public Schools ("DMPS").

      3. The DMPS mask mandate includes all students, staff, and visitors, regardless of

           vaccination status, and was effective as of September 15, 2021.

  4        I am glad the Board took this important step to protect children, like A.S.. who are at high

           risk   of severe iliness or complications from COVID-19
      5.   Because of A.S. s medical and cognitive issues, she often mimics behavior and cannot

           follow instructions easily. With universal masking. A.S. feels more comfortable wearinga

            mask in school. When she sees other students and staff wearing masks it is easier for her

            to mimic those behaviors, as she can follow guidelines better when others are doing so as


            well




                                       PLAINTIFFS' APPENDIX 156
    6.    I have also been informed that the teachers are enforcing proper masking in the classrooms,

         which is reassuring.

    7. With universal masking in place, I feel a sense ofrelief, and believe that my child is much

         safer returning to school in person. My child is no longer having to take greater       and

         unnecessary risks- than other students to get her education.

    I swear under the penalty of perjury under the laws of the United States that the foregoing is

true and correct to the best of my knowledge.




         Dated this   day of September 2021, at Des Moinespwa

                                                       1iMardistySithonnorath




                                   PLAINTIFFS' APPENDIX 157
PLAINTIFFS' APPENDIX 158
PLAINTIFFS' APPENDIX 159
            1
PLAINTIFFS' APPENDIX 160
            2
PLAINTIFFS' APPENDIX 161
                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF IOWA

THE ARC OF IOWA et al.,


                Plointiffs,                                  Case No. 4:21,-cv-264
        V.


KIM REYNOLDS et al.,                                         SU PPLEM   ENTAT DECL.ARATION OF
                                                             REBEKAH STEWART
                Defendonts.




        COMES NOW, Rebekah Stewart and pursuant to 28 U.S.C. 51746, declares under

penalty of perjury that the following is true and correct:

    1. My name is Rebekah Stewart, and I am over 18 years        old. I have personal knowledge     of

        the facts as stated herein.

   2.   Since the judge issued the temporary restraining order banning enforcement of HF 847,

        the Linn-Mar School District where my child, E.M.S., attends school passed a mask

        mandate on September 16, 2021,. The mandate applies to pre-K through          6'h   grade

        students and was effective starting on Septemb er 20,2021. The mandate is scheduled to

        expire 60 days after the COVID-l9 vaccine is available for children ages 5 to 11 years

        old. There is an exemption for     students with medical conditions   if there is a signed note

        by the doctor submitted to the school principal.

   3.   The school district is also being flexible about families who want to open enroll in the

        district or switching between online and in-person learning platforms.

   4.   My child feels much better being in school where all students and teachers wear masks.

        My child has sensory issues with wearing masks and can go outside the school for mask

        wearing breaks. My child feels safe and accommodated by the school in this regard.




                                      PLAINTIFFS' APPENDIX 162
PLAINTIFFS' APPENDIX 163
PLAINTIFFS' APPENDIX 164
PLAINTIFFS' APPENDIX 165
            1
PLAINTIFFS' APPENDIX 166
            2
PLAINTIFFS' APPENDIX 167
            1
PLAINTIFFS' APPENDIX 168
            2
PLAINTIFFS' APPENDIX 169
Exhibit O
  PLAINTIFFS' APPENDIX 170
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                     )25 7 ( 6287 (51 ',675,&7 2) ,2:
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                                      (DVW :DOQXW 6WUHHW
                                  'HV 0RLQHV ,RZD
                                  )ULGD    6HSWHPEHU
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                         8QLWHG 6WDWHV &RXUWKRXVH
                         (DVW :DOQXW 6WUHHW 5RRP
                          'HV 0RLQHV ,RZD




                      PLAINTIFFS' APPENDIX 171
Case 4:21-cv-00264-RP-HCA Document 37 Filed 09/17/21 Page 2 of 55



    33( 5 1&(6

  )RU WKH 3ODLQWLII              -2 1 5 . )5(('0 1 (64
                                  UQROG   3RUWHU //3
                                     0DVVDFKXVHWWV YHQXH 1RUWKZHVW
                                 :DVKLQJWRQ ' &

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                                 'XII /DZ )LUP 3 / &
                                 7KH DOOHULD
                                      :HVWRZQ 3DUNZD      6XLWH
                                 :HVW 'HV 0RLQHV ,

                                 /(   '(1,6( 3 7721 (64
                                  &/8 RI ,RZD )RXQGDWLRQ
                                     )LIWK YHQXH 6XLWH
                                 'HV 0RLQHV ,

                                 & 7 (5,1( (//,   (7 -2 1621        (64
                                 & 17 ,   11 0,//(5 (64
                                 'LVDELOLW 5LJKWV ,RZD
                                     :DOQXW 6WUHHW 6XLWH
                                 'HV 0RLQHV ,

  )RU 6WDWH 'HIHQGDQWV           6 08(/ 3 / 1 2/     (64
                                  VVLVWDQW ,RZD WWRUQH       HQHUDO
                                      (DVW :DOQXW 6WUHHW
                                 'HV 0RLQHV ,

  )RU WKH 6FKRRO 'LVWULFW        .5,67 0 / 77   (64
  'HIHQGDQWV                      KOHUV   &RRQH  3 &
   ([FHSW ,RZD &LW &6'               &RXUW YHQXH 6XLWH
                                 'HV 0RLQHV ,




                     PLAINTIFFS' APPENDIX 172
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   SUHOLPLQDU    LQMXQFWLRQ DQG WKDW UHDOO          ZKHQ    RX UH ORRNLQJ DW

   ZKHWKHU D 752 VKRXOG EH JUDQWHG          ZH UH ORRNLQJ DW WKH KDUP MXVW

   LQ WKLV LQWHULP WLPH SHULRG EHWZHHQ ZKHQ             RX ZRXOG RWKHUZLVH

   KDYH WKH RSSRUWXQLW      WR UXOH RQ D WHPSRUDU          LQMXQFWLRQ

                 RX NQRZ   VWHSSLQJ EDFN MXVW D ELW           , WKLQN LW V

   KHOSIXO WR UHPHPEHU WKDW WKLV LV QRZ WKH WKLUG              HDU WKDW ,RZD V

   VWXGHQWV KDYH EHHQ DIIHFWHG E         WKH &29,'         SDQGHPLF     7KH

   IHGHUDO JRYHUQPHQW      WKH VWDWH JRYHUQPHQW        VFKRRO GLVWULFWV       DQG

   SDUHQWV KDYH DOO EHHQ IDFHG ZLWK FKDOOHQJLQJ GHFLVLRQV WU LQJ WR

   QDYLJDWH WKDW    DQG ZH UH KHUH WRGD           QRZ WDONLQJ DERXW RQH

   SURYLVLRQ RI    RXVH )LOH            RX NQRZ     VHFWLRQ             WKDW LV

    RX NQRZ   WKH ODWHVW DWWHPSW WR UHVROYH VRPH RI WKRVH LVVXHV IRU

   WKH EHQHILW RI ,RZD VWXGHQWV         DQG WKHUH V FHUWDLQO          OLNH DOO

   WKH GHFLVLRQV WKURXJK WKH ODVW WKUHH             HDUV   VWURQJ RSLQLRQV RQ

   DOO RI WKRVH VLGHV      EXW LW V QRW D EDVLV IRU JUDQWLQJ WKH

   WHPSRUDU   UHVWUDLQLQJ RUGHU

                , ZDQW WR NLQG RI DGGUHVV D SUHOLPLQDU           LVVXH WKDW

   VWUXFN PH DV , ZDV OLVWHQLQJ WR WKH GLVFXVVLRQ DQG WKH VSHFLILF

   UHTXHVW KHUH    DQG WKHUH V         WKHUH ZDV WDON RI HQMRLQLQJ

   HQIRUFHPHQW RI      RXVH )LOH         DQG DOWKRXJK WKDW V WKH VKRUW

   WHUP WKDW V VRUW RI EHHQ XVHG WKURXJKRXW WKH SODLQWLIIV               EULHIV

   WKDW V D ODUJH ELOO        6R DQ LQMXQFWLRQ HQMRLQLQJ         RXVH )LOH

   ZRXOG      UHJDUGOHVV RI DQ      RWKHU EDVLV ZRXOG EH RYHUO          EURDG DQG

   VLJQLILFDQW     0   XQGHUVWDQGLQJ IURP SODLQWLIIV           EULHILQJ DQG

   GLVFXVVLRQ LV WKDW WKH       UH FRQFHUQHG DERXW RQH VHFWLRQ RI WKDW




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   ELOO ZKLFK LV QRZ            RX NQRZ     ,RZD &RGH VHFWLRQ

                7 ( &2857           5LJKW       QG , QRWHG WKDW DV ZHOO           HFDXVH

   DV   RX MXVW SRLQWHG RXW                 G     &     VD V      DQG LW V HQWLWOHG

   &RQWHQWV DQG 6FRSH RI (YHU               ,QMXQFWLRQ DQG 5HVWUDLQLQJ 2UGHU

   ,W VD V    &       'HVFULEH LQ UHDVRQDEOH GHWDLO                 DQG QRW E

   UHIHUULQJ WR WKH FRPSODLQW RU RWKHU GRFXPHQW                      WKH DFW RU DFWV

   UHVWUDLQHG RU UHTXLUHG              6R    RXU SRLQW LV WKDW DV        RX XQGHUVWDQG

   WKH UHTXHVW        WKH    UH UHTXHVWLQJ RQO          WKDW WKH EDQ RI D ORFDO

   VFKRRO GLVWULFW V EHLQJ DEOH WR LPSRVH D PDVN PDQGDWH EH

   HQMRLQHG

                05     / 1     2/      &RUUHFW         7KDW V FRUUHFW

                7 ( &2857            QG LI WKDW V QRW WKH FDVH               H[FXVH PH

   IRU LQWHUUXSWLQJ             QG LI WKDW V QRW WKH FDVH           0U   )UHHGPDQ LV

   JRLQJ WR WHOO PH LQ UHEXWWDO WKDW , JRW LW ZURQJ

                05     / 1     2/      7KDW V FRUUHFW            QG WKH 6WDWH FLWHV

    RX NQRZ   DW WKH EHJLQQLQJ RI RXU LQWURGXFWLRQ RQ SDJH                         RX

   NQRZ    ZKDW ZH EHOLHYH LV D SURSHU FLWDWLRQ                    RX NQRZ    RI WKDW

   DFW DQG ZKDW VHFWLRQ             RX NQRZ     XOWLPDWHO        LV FRGLILHG DW

   VHFWLRQ                   QG ZH XQGHUVWDQG             RX NQRZ    DQG LW VRXQGHG

   OLNH WKHUH ZDV QR FKDQJH LQ WKDW SRVLWLRQ WRGD                    WKDW WKH UHTXHVW

   LV WR HQMRLQ       RYHUQRU 5H QROGV DQG 'LUHFWRU /HER IURP HQIRUFLQJ

   WKDW SURYLVLRQ       DQG WKLV UHTXHVW               RX NQRZ   ZKHWKHU DW D 752 RU

   SUHOLPLQDU     LQMXQFWLRQ         LV QHLWKHU QHFHVVDU          QRU VXIILFLHQW WR

   UHPHG   WKH DOOHJHG KDUPV RI SODLQWLIIV

                  V    RXU     RQRU MXVW GLVFXVVHG ZLWK FRXQVHO              VHFWLRQ




                            PLAINTIFFS' APPENDIX 174
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           FRQWDLQV DQ H[SOLFLW H[FHSWLRQ WKDW DOORZV PDQGDWHV RI

   IDFH FRYHULQJV ZKHQ UHTXLUHG E           DQ     RWKHU SURYLVLRQ RI ODZ

   7KDW LQFOXGHV IHGHUDO ODZ           7KHUH ZDV        LQ IDFW   D GLVFXVVLRQ

    RX NQRZ    DERXW WKLV SURYLVLRQ GXULQJ WKH GHEDWHV RQ WKH                RXVH

   IORRU      RX NQRZ     WKH OHJLVODWRUV H[SUHVVHG VRPH FRQIXVLRQ DERXW

   ZKDW       RX NQRZ     KRZ EURDG WKDW FRXOG EH           LW ZDVQ W IXOO

   DFNQRZOHGJHG     RX NQRZ      NLQG RI DQ DFNQRZOHGJPHQW            ,Q IDFW     RQH

   RI WKH RSSRQHQWV       5HSUHVHQWDWLYH        RKDQQDQ     ZDV UDLVLQJ

   SHUKDSV      WKLV ZDV D FRQFHUQ SHUKDSV EHFDXVH KRZ GR ZH NQRZ

   ZKDW VRUW RI H[FHSWLRQV FRXOG FRPH LQ WKHUH                EXW QRQHWKHOHVV

    RX NQRZ    WKDW V WKH ODZ WKDW ZDV SDVVHG

               7 ( &2857        'LG WKDW LQFOXGH D GLVFXVVLRQ RI WKH 6WDWH

   SURKLELWLRQ DJDLQVW GLVFULPLQDWLRQ UHJDUGLQJ WKH GLVDEOHG                 RU

   ZDV WKDW MXVW        ZDV WKH GLVFXVVLRQ RI WKH OHJLVODWXUH MXVW

   OLPLWHG WR WKH IHGHUDO ODZ

               05   / 1    2/      ,W ZDV          LW ZDV D GLVFXVVLRQ RI WKLV

   SURYLVLRQ

               7 ( &2857        2ND

               05   / 1    2/           UHFRJQL]LQJ WKDW WKHUH V DQ

   H[FHSWLRQ IRU RWKHU SURYLVLRQV RI ODZ DQG UDLVLQJ TXHVWLRQV

    RX NQRZ    WKDW FRXOG EH          RX NQRZ      DQ   QXPEHU RI WKLQJV     RX

   NQRZ    OHJLVODWRUV WKDW ZHUH FRPSODLQLQJ                RX NQRZ   WKDW WKH    KDG

   RQO    KDG D VKRUW SHULRG RI WLPH WR                 WR FRQVLGHU DQG KDGQ W

   IXOO    WKRXJKW WKURXJK DOO RI WKH SURYLVLRQV RI ODZ WKDW PLJKW EH

   LPSOLFDWHG LQ WKDW UHJDUG




                        PLAINTIFFS' APPENDIX 175
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               7 ( &2857        6R GRHV WKH &'& RUGHU UHTXLULQJ PDVNV RQ

   VFKRRO EXVHV IDOO ZLWKLQ WKDW H[FHSWLRQ

               05   / 1    2/       7KH 6WDWH KDV JLYHQ JXLGDQFH         ,

   EHOLHYH      DQG , WKLQN WKDW V RXWVLGH WKH VFRSH RI DQ             FODLP

   KHUH EXW KDV      KDV JLYHQ JXLGDQFH WKDW WKDW LV D               D PDQGDWH

   WKDW V UHTXLUHG WKDW WKLV VWDWXWH GRHV QRW SURKLELW

               7 ( &2857        2ND

               05   / 1    2/         QG DV WKH &RXUW SRLQWV RXW DV ZHOO           ,

   PHDQ       RX NQRZ     DV D PDWWHU RI ODZ          RX NQRZ   OHDYLQJ DVLGH

   WKLV LQMXQFWLRQ        RX NQRZ     ZLWK WKH 6XSUHPDF     &ODXVH    UHJDUGOHVV

   RI ZKHWKHU RU QRW WKHUH V D VDYLQJV FODXVH LQ WKH VWDWXWH                 ,

   JRYHUQPHQWDO HQWLWLHV        SULYDWH FLWL]HQV DUH UHTXLUHG WR IROORZ

   IHGHUDO ODZ DV D PDWWHU RI WKH 6XSUHPDF             &ODXVH UHJDUGOHVV RI

   ZKHWKHU WKH VWDWXWH DFNQRZOHGJHG LW                XW ZKHQ ZH UH WDONLQJ

   DERXW DQ LQMXQFWLRQ DQG ZKHWKHU LW V QHFHVVDU                WR WDNH WKDW

   H[WUDRUGLQDU     UHOLHI RU WKH HYHQ PRUH H[WUDRUGLQDU            UHOLHI RI D

   WHPSRUDU    UHVWUDLQLQJ RUGHU ZKLOH ZH UH VRUWLQJ WKLQJV RXW                WKH

   IDFW WKDW WKHUH V D VDYLQJV FODXVH DQG WKDW WKDW DOORZV PDVN

   UHTXLUHPHQWV ZLWKRXW DQ LQMXQFWLRQ              LI LW LV UHTXLUHG E         E

   IHGHUDO ODZ      RX NQRZ     LV VLJQLILFDQW IRU WKH TXHVWLRQ EHIRUH

   WKH &RXUW KHUH WRGD

                 QG , ZDQW WR         WKH &RXUW DQG SODLQWLIIV H[SUHVVHG

   VRPH FRQIXVLRQ DERXW         RX NQRZ     ZKDW WKH 6WDWH V SRVLWLRQ LV LV

   FRQWUDGLFWRU     WR VRPH RI WKH SXEOLF VWDWHPHQWV            DQG , ZDQW WR EH

   DEVROXWHO    FOHDU WKDW WKH 6WDWH GHIHQGDQWV GR QRW DJUHH WKDW




                        PLAINTIFFS' APPENDIX 176
                                 CERTIFICATE OF SERVICE

I hereby certify that on this date, I electronically filed the foregoing paper with the Clerk of
Court by using the CM/ECF system.

All participants in this case are registered CM/ECF users and will served by the CM/ECF
system.

Date: July 1, 2022

/s/Rita Bettis Austen
Rita Bettis Austen
